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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                COLUMBUS DIVISION

JAMES EDWARD (“Dusty”) BROGDON, Jr.,             *
as Executor of the Estate of Debra Sue Mills,    *
deceased, and JAMES EDWARD BROGDON, Jr., *
and RONALD BRIAN (“Rusty”) BROGDON,              *
Individually and as surviving children of        *           CIVIL ACTION FILE
Debra Sue Mills,                                 *
                                                 *           NO. 4:23-cv-00088-CDL
and                                              *
                                                 *
JAMES EDWARD BROGDON, Jr.,                       *
as Executor of the Estate of Herman Edwin Mills, *
deceased, and JASON EDWIN MILLS,                 *
Individually and as surviving child              *
of Herman Edwin Mills,                           *
                                                 *
                                                 *
       Plaintiffs,                               *
                                                 *
                                                 *
v.                                               *
                                                 *
FORD MOTOR COMPANY,                              *
                                                 *
                                                 *
       Defendant.                                *

                       JOINT MOTION FOR PROTECTIVE ORDER

       Pursuant to Mr. Gunn’s August 10, 2023 instructions via email, the parties file this their

Joint Motion for Protective Order. Attached as Exhibit A is a copy of Plaintiffs’ proposed

confidentiality order with Ford’s explanation of reasons for opposition to provisions therein.

Attached as Exhibit B is a copy of Ford’s proposed protective order with Plaintiffs’ explanation

of reasons for opposition to provisions therein.

       Respectfully submitted this 17th day of August, 2023.

       s/James E. Butler, Jr.
       James E. Butler, Jr.
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                COLUMBUS DIVISION

JAMES EDWARD (“Dusty”) BROGDON, Jr.,             *
as Executor of the Estate of Debra Sue Mills,    *
deceased, and JAMES EDWARD BROGDON, Jr., *
and RONALD BRIAN (“Rusty”) BROGDON,              *
Individually and as surviving children of        *          CIVIL ACTION FILE
Debra Sue Mills,                                 *
                                                 *          NO. 4:23-cv-00088-CDL
and                                              *
                                                 *
JAMES EDWARD BROGDON, Jr.,                       *
as Executor of the Estate of Herman Edwin Mills, *
deceased, and JASON EDWIN MILLS,                 *
Individually and as surviving child              *
of Herman Edwin Mills,                           *
                                                 *
                                                 *
       Plaintiffs,                               *
                                                 *
                                                 *
v.                                               *
                                                 *
FORD MOTOR COMPANY,                              *
                                                 *
                                                 *
       Defendant.                                *

                       STIPULATED CONFIDENTIALITY ORDER

       Ford’s General Objections to Plaintiffs’ Proposed Order:

       Ford’s proposed Protective Order is modeled after, and nearly identical to, the Protective

Order this Court entered in February 2023 in Christian v. Ford (Case No. CV-4:22-CV-00062-

CDL; Doc. 24), another automotive products liability case. Ford’s proposed Protective Order is

also strikingly similar to the one agreed to by Plaintiffs’ counsel here when they represented the

Plaintiffs in Hill v. Ford, a case they have referenced repeatedly throughout this case (both when

the Hill case was in Cobb County and again after they dismissed it and refiled it in Gwinnett


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County). (See Exhibit 1, Stipulated Protective Orders from Hill v. Ford). Plaintiffs’ Counsel

admitted as much in email correspondence when discussing the Protective Order to be entered in

this case. (See Exhibit 2, July 28, 2023 Email from Jim Butler, “[The Christian Protective Order]

appears to be much like the PO Ford obtained in Hill v. Ford”).

       Thus, when Ford sought to provide the Court here with an agreed Protective Order, it

looked to (1) an order this Court recently entered in another product liability case involving Ford,

and (2) an order Plaintiffs’ Counsel twice agreed to in another case involving “similar” allegations

against Ford. Plaintiffs’ counsel’s proposed Protective Order in this case, however, is radically

different than both the Order this Court entered in Christian and the one Plaintiffs’ counsel twice

agreed to in Hill. Most notably, Plaintiffs’ proposed Protective Order here provides for wholesale,

unfettered sharing of all confidential documents produced in this case with other “plaintiffs

attorneys and expert witnesses” for use in unspecified “litigation” against Ford. And further,

Plaintiffs’ proposed Protective Order strips, at trial and even before trial, the protections bestowed

upon confidential documents by allowing for their unconditional use “for any appropriate purpose

at trial or other hearing, subject to evidentiary objections, if any, and for any legitimate purpose

during discovery.”

       Good cause exists here for entry of Ford’s proposed Protective Order to govern the use of

confidential documents Ford produces in this case; Ford’s proposed Protective Order is not over-

reaching and does not cover all documents produced. The global automotive industry is among

the most highly competitive industries in the world. Thus, dissemination of information beyond

those permitted by Ford’s proposed Protective Order would likely cause untold financial harm to

Ford. See Seattle Times Co. v Rhinehart, 467 U.S. 20, 104 S. Ct. 2199, 81 L. Ed. 2d 17 (1984) at

35-36; (“The prevention of the abuse that can attend the coerced production of information under


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a state’s discovery rule is sufficient justification for the authorization of protective orders.”).

Certain documents and other materials concerning the research, design, and development of certain

technologies of Ford vehicles contain highly confidential and proprietary trade secret information,

including testing data and related materials generated as part of ongoing development and research

efforts that are exclusive to Ford and its licensees, that will greatly impact the companies’

competitive advantage in their industries. Ford has invested significant time and money over many

years to develop the information and processes described in these documents.

       Many documents Ford will produce are commercially sensitive, contain trade secrets,

would be invaluable to many of Ford’s competitors, and would cause irreparable injury to Ford if

publicly disseminated. This proprietary information is still used today and is valuable to Ford,

both as its property and because its competitors lack access to it. Ford has gone to great lengths

to protect this information and these documents from widespread dissemination and to keep this

information secret.

       Ford’s proposed Protective Order should be entered because it permits production of these

documents in such a way as to protect Ford’s legitimate interests in the documents and the

information they contain, while allowing Plaintiffs access to such documents to prosecute their

claims. Plaintiffs will still get all of the documents for this case, and this is not an attempt in any

way to preclude the production of documents. Ford simply wants to protect the release of its

proprietary documents outside of this case, to protect its competitive advantage in the industry.

Ford’s proposed Order will safeguard Ford – at no cost to these Plaintiffs – from unauthorized

disclosure of Ford’s proprietary and commercially sensitive business information.

       It is hereby stipulated and agreed by and between the respective parties hereto and their

counsel and ordered by the Court, that


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       1. This Stipulated Confidentiality Order (“Order”) governs the production and handling

of documents, testimony, interrogatory responses and other information (collectively “discovery

materials”) produced by the parties in connection with this lawsuit.

       2. A party producing discovery materials in response to a discovery request (hereinafter

the “Producing Party”), may designate as “Confidential” any discovery materials which it in

good faith believes to contain commercially sensitive or proprietary information. The Producing

Party shall mark, label, or stamp the document as “CONFIDENTIAL” on the face of the

document. The “Confidential” stamp will not obliterate or obfuscate any information on the

document.

       3. Notwithstanding the designation of discovery materials as “Confidential,” the

restrictions of this Confidentiality Order shall not apply to discovery materials that are:

       (a) Otherwise publicly available; or

       (b) Provided to one or more of the parties from a source other than the Producing Party,

       provided that such source did not:

               (i) Receive the discovery materials in question or the information contained

               therein under any confidentiality or other restriction; or

               (ii) Fail to provide the discovery material in question or the information contained

               therein under such applicable confidentiality restrictions.

       4. In the event that a party to this agreement objects to or disagrees with the Producing

Party’s designation of any item as confidential and subject to this Confidentiality Order, that

party shall send a written notice to counsel for the Producing Party specifying the item(s) in

question. Should the parties fail to reach agreement, the Producing Party must, within thirty (30)

days of receiving a written notice specifying the documents or information in question, file a


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Motion to Preserve Confidential Status. Any item in dispute shall continue to be treated as

confidential and subject to this Order until such time as the Court rules that it is not. Should the

designating party fail to file, within thirty (30) days of receiving such written notice, a motion

with the Court to preserve the confidential status of such document or information, the document

or information shall be deemed not confidential. It will be the burden of the Producing Party to

prove that such items are entitled to confidentiality and/or protection.

       5. Designation of a portion of a deposition transcript (including exhibits) as confidential

shall be made by a statement to such effect on the record in the course of the deposition or,

within thirty (30) days after receipt of the deposition transcript, counsel for the Producing party

shall identify by page and line number the specific portion of the transcript or material that the

Producing party intends to designate as confidential or subject to this Confidentiality Order in a

written letter served to all counsel of record. During those thirty days, the entire deposition

transcript, including exhibits, shall be deemed confidential. However, all deposition transcripts

or portions thereof designated as confidential or subject to this Confidentiality Order shall be

subject to the challenge provisions set forth above in Section 4 of this Confidentiality Order.

       6. Designation of discovery materials produced in a non-paper media or electronic form

(e.g. video or audio recordings, computer disks, computer hard drives, thumb drives, etc.) may

be made by any means practicable, including producing the materials in an envelope or container

marked “CONFIDENTIAL,” or by making the Confidential designation in the text of a

transmittal email or message accompanying a drop box containing such materials.

       7. Access to all materials designated Confidential and produced for inspection or received

in this lawsuit shall be limited to counsel of record for the named parties, in-house counsel and




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the firms of counsel of record, including any employees of in-house counsel and/or firms of

counsel of record, except as stated below.

       8. Discovery materials designated as Confidential also may be disclosed to:

       (a) The parties to this action, including such employees, agents and/or representatives of

       the parties as are necessary for the prosecution or defense of this litigation;

       (b) Any expert (including both consulting and/or testifying experts);

       (c) Any person testifying at a deposition or at any hearing in this litigation, provided that

       questioning that person about confidential materials is within the scope of F.R.C.P.

       26(b)(1);

       (d) Other persons who may be designated by written consent of the Producing Party or

       pursuant to a court order;

       (e) Plaintiffs attorneys and expert witnesses involved in similar litigation against Ford

       Motor Company. For the purposes of this order, similar litigation means allegations of

       roof crush in model year 1999-2016 Ford Super Duty trucks (F250, F350, F450, and

       F550) resulting in injury or death.

Ford’s Objections to Section 7(e):

       Ford objects to this provision which allows for sharing of all confidential documents

produced in this case. Instead, Ford should be permitted to designate all confidential documents

as either “Sharing” or “Non-Sharing”. Documents marked as “Sharing” may be shared with other

plaintiffs’ attorneys as spelled out in Section 6(f) of Ford’s proposed Protective Order.

       Where a plaintiff seeks to include a sharing provision in a protective order, other federal

district courts in Georgia have held that the “Plaintiff bears the burden to show that dissemination

of [the defendant's] confidential information is necessary.” Porter v. Tyco Healthcare Group, LP,


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No. 1:08-CV-1203-CC, 2008 WL 11320000, at *2 (N.D. Ga. 2008). If a plaintiff fails to meet that

burden, the court should deny the request to share the produced information. Id. Furthermore,

where there exists a lack of any information regarding the other claims, parties, or attorneys with

whom the documents will be shared, “the Court has no way to determine whether the discovery in

this matter is even relevant to any other cases, which is a preliminary finding this Court should

make in considering whether to permit the sharing of protected discovery.” Id. (citing Wilk v.

American Med. Assoc., 635 F.2d 1295, 1300 (2d Cir. 1981) (a relevance finding should be made

before a court permits protected discovery to be shared with litigants in collateral proceedings); Gil

v. Ford Motor Co., Civil Action No. 1:06CV122, 2007 WL 2580792, at *6 (N.D. W.Va.

2007) (“The case law suggests that the court that entered the protective order should satisfy itself

that the protected discovery is sufficiently relevant to the collateral litigation that a substantial

amount of duplicative discovery will be avoided by modifying the protective order”)).

       Plaintiffs fail to meet this burden. Plaintiffs have not offered any explanation as to why the

unfettered dissemination of confidential information gathered and produced in this case is

warranted or appropriate. More specifically, Ford’s proposed Protective Order allows for sharing

of certain designated confidential documents, but not all. Plaintiffs have not shown why they

should be allowed to share all of Ford’s confidential documents. Further, Plaintiffs’ proposed

language governing the dissemination itself is equally unclear, stating that Plaintiffs are permitted

to share the information with unidentified “plaintiffs’ attorneys and expert witnesses” for use in

unspecified “litigation” against Ford, without making clear whether “litigation” involves cases that

are pending currently or future matters.

       Indeed, federal courts in Georgia have rightly expressed concerns with protective orders

containing sharing provisions – namely, it unduly heightens the risk that the defendant's


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competitors will gain access to the defendant's confidential information since “the more widely

confidential documents are disseminated, it becomes more likely that those documents will be

released, and more difficult for the Court to enforce the terms of its protective order.” Williams v.

Taser Int'l, Inc., No. 1:06-CV-0051-RWS, 2006 WL 1835437, at *1-2 (N.D. Ga. 2006). Other

Courts in this Circuit have reached similar conclusions. See Gunson v. BMO Harris Bank, NA.,

300 F.R.D. 581, 584 (S.D. Fla. 2014) (“The court determines that Defendants' interests to protect

confidential, proprietary documents and confine their use to this litigation outweigh Plaintiffs

effort to obtain discovery that could be used for other plaintiffs in other out-of-state proceedings

…”); Lohr v. Zehner, No. 2:12CV533-MHT, 2014 WL 12742197, at *2 (M.D. Ala. 2014)

(“[A]lthough plaintiffs goal to help future plaintiffs in future litigation may be laudable, he has not

established that further dissemination of [the defendant's] confidential information is relevant and

necessary to this action.”) (emphasis in original); Ginn v. Stryker Corp., No. 1:09-cv-01939-HGD,

2010 WL 11561215, at *1 (N.D. Ala. 2010) (“[T]he inclusion of a ‘sharing’ provision in the

protective order is not necessary nor warranted for the purposes of this litigation, and that is the

only important consideration. Attorneys in other litigation can do their own work with respect to

discovery.”).

       Ford agrees to the sharing of certain confidential documents, but with some limitations.

This is a more reasonable, narrowly tailored approach. As such, Ford asks the Court to include

language in the Protective Order in this case that allows for Sharing and Non-Sharing of

confidential documents.

       (f) Any disclosure to any such persons as set forth in paragraphs (a)–(e) above shall be

       made only upon the following terms and conditions:




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                (i) Such persons must agree to abide by the terms of this Confidentiality Order as

                evidenced by his or her signature on the form annexed hereto as Exhibit A

                (“Agreement Concerning Material Covered by the Confidentiality Order”).

                Counsel shall maintain each executed Agreement Concerning Material Covered

                by the Confidentiality Order. Should anyone decline to execute the

                Confidentiality Agreement, the parties will work together to find an alternative

                means of protecting confidential information, such as redaction.

         9. All discovery materials designated as Confidential shall be used by the party receiving

such discovery material (hereinafter the “Receiving Party”) solely for the purposes of conducting

this litigation or similar litigation as defined in paragraph 8(e). The material designated

Confidential may be used by either party for any appropriate purpose at trial or other hearing,

subject to evidentiary objections, if any, and for any legitimate purpose during discovery. The

Receiving Party and all persons acting by, through, or on behalf of the Receiving Party of

material designated Confidential pursuant to the terms of this Confidentiality Order are

prohibited from using such designated materials for any purpose other than for purposes of this

litigation or similar litigation as defined in paragraph 8(e).

Ford’s Objections to Section 9:

         Ford objects to the language “material designated Confidential may be used by either party

for any appropriate purpose at trial or other hearing, subject to evidentiary objections, if any, and

for any legitimate purpose during discovery.” This language effectively erases all protections

afforded by this Order to confidential documents merely by using them in discovery, at a hearing

or at trial.




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       Plaintiffs’ position here that confidential documents marked as protected lose their

protected status simply by being used at a hearing or at trial is not supported by the law. Indeed,

the United States Supreme Court has noted the right to access judicial records is not absolute. See

Nixon v. Warner Commc’ns, 435 U.S. 589, 598 (1978) (“It is uncontested, however, that the right

to inspect and copy judicial records is not absolute. Every court has supervisory power over its

own records and files, and access has been denied where court files might have become a vehicle

for improper purposes…courts have refused to permit their files to serve as…sources of business

information that might harm a litigant’s competitive standing.”). Likewise, the Georgia Supreme

Court has held that trial courts may “limit access to court records if the court finds that ‘the harm

otherwise resulting to the privacy of a person in interest clearly outweighs the public interest.’”

Savannah College of Art & Design, Inc. v. School of Visual Arts, Inc., 270 Ga. 791, 792 (1999)

(the Court reversed a trial court’s ruling that confidential documents should be open for public

inspection and held that the trial court had abused its discretion by concluding that the moving

party’s privacy interest did not outweigh the public’s interest in access to court records). More

specifically, though, the type of confidential documents that Ford may seek to protect in this case

have frequently been sealed by the federal district courts in Georgia. See, e.g., Chemence Med.

Prods. v. Medline Indus., Inc., No. 1:13–CV–500–TWT, 2015 WL 149984, at *3-6 (N.D. Ga.

2015) (granting several motions to seal excerpts and exhibits of depositions where product

specifications and confidential business transactions were discussed); Cognotion, Inc. v. Grace

Hill, LLC, CV 115-201, 2016 WL 1529904 at *1-2 (S.D. Ga. 2016) (granting motion to seal

Complaint that contained confidential business information). There is no substantial justification

for waiving the confidentiality of a document simply because excerpts may be shown in a

courtroom at trial or during a hearing.


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       Ford has a significant interest in protecting its proprietary information and trade secrets.

Potentially sealing proprietary and trade secret documents during trial will not prejudice Plaintiffs

- Plaintiffs will still be able to use the documents in the furtherance of their case. However, failing

to seal protected documents during trial would prejudice Ford and impair its competitive

advantage. Ford recognizes the important First Amendment right to judicial records, however, the

United States Supreme Court has noted that right is not absolute. See Nixon v. Warner Commc’ns,

435 U.S. 589, 598 (1978) (“It is uncontested, however, that the right to inspect and copy judicial

records is not absolute. Every court has supervisory power over its own records and files, and

access has been denied where court files might have become a vehicle for improper

purposes…courts have refused to permit their files to serve as…sources of business information

that might harm a litigant’s competitive standing.”)

       Indeed, this Court provides for and contemplates the sealing of confidential documents

used at trial. In its Rules 16 and 26 Order [Doc. 12], the Court addresses “Orders Regarding

Confidentiality”, stating therein that filings “shall only be sealed from public disclosure in limited

circumstances by order of the Court.” Ford does not seek any protections beyond what this Court

contemplates in its Rules 16 and 26 Order. Notably, following the second trial in the Hill case, of

the dozens of exhibits tendered at that trial, Ford only sought to seal the record regarding eight

exhibits. Ford was reasonable in seeking to seal a limited number of confidential documents used

at trial in the Hill case and has no intention of doing anything different here.

       It is also important to note that Plaintiffs’ Counsel is merely trying to circumvent the

Protective Orders entered in Hill v. Ford. In Hill, this same Plaintiffs’ counsel twice agreed to a

stipulated Protective Order that contained the following provision that maintains the status of

protected documents even if used in depositions or at trial:


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               To the extent that Protected Documents or information obtained
               therefrom are used in the taking of depositions and/or used as
               exhibits at trial, such documents or information shall remain subject
               to the provisions of this Order, along with the transcript pages of the
               deposition testimony and/or trial testimony dealing with, referring
               to or referencing the Protected Documents or information.

Exhibit 1, Para. 12. That Protective Order provides a mechanism for challenging the confidential

designation of any documents designated by Ford as protected. (Id., Para. 4). Plaintiffs’ counsel

had no qualms with raising discovery issues with Ford throughout the Hill litigation, yet not once

did they ever raise an issue with any of Ford’s designations of confidential documents.

       After the second trial in Hill in August 2022, Plaintiffs sought to modify the agreed-to

Protective Order to allow for free sharing of any exhibit used at trial, including sharing with the

media. Ford opposed that Motion, which was argued in December 2022, but has not been ruled

on and remains pending. (See Exhibit 3, Plaintiffs’ Motion to Modify Protective Order, Ford’s

Response to Plaintiffs’ Motion, and Plaintiffs’ Reply in Support of Motion).

       With their refusal to agree to any Protective Order that allows for protection of confidential

documents used at a hearing or at trial in this case, Plaintiffs’ Counsel’s intent is clear – in the

event the Court in Hill denies their Motion to Modify Protective Order, they will circumvent that

ruling by obtaining an entirely different Protective Order in this case that contains no such

language. In essence, Plaintiffs are seeking to modify the Protective Order entered in Hill by

having this Court enter a far less thorough Protective Order in this case that would apply to many

of the same confidential documents produced (and protected) in Hill.1 Such a maneuver is

impermissible. See Lohr v. Zehner, No. 2:12CV533-MHT, 2014 WL 12742197, at *3 (M.D. Ala.



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  In addition, Plaintiffs have asked that Ford enter into a Stipulation that would deem all discovery
taken and produced in Hill also taken and produced in this case. Ford is willing to agree to the
Stipulation, but only if those documents are afforded the same protections in this case as they were
in Hill.
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2014) (noting “a collateral court [does] not have jurisdiction to decide a motion to enforce or

modify this court's protective order.”); see also United Nuclear Corp. v. Cranford Ins. Co., 905

F.2d 1424, 1427 (10th Cir. 1990) (“As long as a protective order remains in effect, the court that

entered the order retains the power to modify it, even if the underlying suit has been dismissed.”).

       10. The inadvertent failure of a Producing Party to designate discovery materials as

Confidential shall not be deemed to be a waiver of the party’s right to designate such discovery

materials and correct any inadvertent failure to designate any material as Confidential.

       11. The production of such documents, depositions, or information shall not constitute a

waiver of any privilege or other claim or right of withholding or Confidentiality that it may have.

       12. Entering into, agreeing to and/or producing materials or otherwise complying with the

terms of this Order shall not:

       (a) Prejudice in any way the rights of the Producing Party to object to the production of

       documents it considers not subject to discovery; or

       (b) Prejudice in any way the rights of a party to seek a determination of whether

       particular discovery materials should be produced.

       13. No part of the restrictions imposed by this Confidentiality Order may be terminated,

except by written agreement executed by counsel of record for each designating party, or by an

order of the Court for good cause shown. The termination of this litigation shall not

automatically terminate this Confidentiality Order.

       14. The parties agree that this Confidentiality Order may be executed in a number of

counterparts, each of which shall be considered an original instrument, but all of which together

shall be considered one and the same instrument.


       It is SO ORDERED, this the _______ day of _______________, 2023.

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                                    ___________________________________
                                    Clay D. Land
                                    United States District Judge




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                                          EXHIBIT A

                                  Agreement Concerning
                       Material Covered by the Confidentiality Order

       I, ______________________________(Name), hereby agree to be bound by the

Confidentiality Order in this case, a copy of which has been provided to me.


                                            Signature:_________________________________

                                            Printed name:______________________________




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                 Exhibit 1
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                             STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA

 KIM HILL and ADAM HILL, surviving               :
 children and Co-Administrators of the           :
 Estates of Melvin Hill and Voncile Hill,        :
 deceased,

        Plaintiffs,
                                                           CIVIL ACTION FILE NO.:
 V.                                                              14A3455-3

FORD MOTOR COMPANY, COOPER                      :
TIRE & RUBBER COMPANY, THE PEP                  :
BOYS-MANNY, MOE & JACK (Inc.),                  :               FILED IN THIS OFFICE
CURTIS CLINTON THOMPSON, JR.,                   :              THIS J DAY OF  4-, 215"
WILLIE BRAS WELL, and DONALD                    :
TAYLOR,
                                                                    Clerk,   tate Court of Cobb County
        Defendants.


         STIPULATED SHARING AND NON-SHARING PROTECTIVE ORDER


       In order to preserve and maintain the confidentiality of certain confidential, commercial

and/or proprietary documents and information produced or to be produced by FORD MOTOR

COMPANY ("Ford") in this action, it is ordered that:

       1.      Documents to be produced by Ford in this litigation that contain confidential,

commercially sensitive and/or proprietary information shall hereafter be referred to as "Protected

Documents." A document or portion of a document that Ford determines in good faith to be a

Protected Document may be designated as confidential by marking or placing the applicable

notice "Subject to Non-Sharing Protective Order," "Subject to Protective Order," "Confidential."

or substantially similar language on media containing Protected Documents, on the document

itself, or on a copy of the document, in such a way that it does not obscure the text or other

content of the document.
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                                                  11/03/23 Page 19
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         2.      As used in this Order, the term "documents" means all written material,

 videotapes and all other tangible items, produced in whatever format (e.g., hard copy, electronic,

 digital, etc.) and on whatever media (e.g., hard copy, videotape, computer diskette, CD-ROM,

 DVD, hard drive or otherwise).

         3.      Any document or any information designated as "Subject to Non-Sharing

 Protective Order," "Subject to Protective Order," "Confidential," or substantially similar

 language in accordance with the provisions of this Order shall only be used, shown or disclosed

 as provided in this Order. However, nothing in this Order shall limit a party's use or disclosure

of his or her own information designated as Confidential Material.

        4.       If a party disagrees with the "Protected" designation of any document, the party

will so notify Ford in a written letter, within 60 days of receipt of the confidential documents and

information, identifying the challenged document(s) with specificity, including Bates-number(s)

where available. If the parties are unable to resolve the issue of confidentiality regarding the

challenged document(s), Ford will thereafter timely apply to the Court to set a hearing for the

purpose of establishing that the challenged document(s) is/are confidential. Any document so

marked as "Protected" will continue to be treated as such pending determination by the Court as

to its confidential status.

        5.      Protected Documents and any copies thereof received pursuant to paragraph 8

below shall be maintained confidential by the receiving party, his/her attorney, other

representatives, and expert witnesses, and shall be used only for preparation for the trial of this

matter, subject to the limitations set forth herein.

        6.      The following Volvo documents, which contain trade secrets or other confidential

research, development and commercial information, are subject to the provisions contained




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                                                                    150




herein.   Except as otherwise indicated, all Volvo documents designated as "Confidential,"

"Subject to Protective Order," or words to that effect, and corresponding testimony, shall be

Protected Documents and be given confidential treatment as described herein.

               a.     Roof Strength Related to Weight Volvo XC90, page 30-012 of Binder 4.

                     References FKB & Test Report 270720 (bates numbers: FKB = VLV1

                     0346-0437, Test 270720 = VLVI 0438-0457).

              b.     Chart: FMVSS 216 Plot Comparison 1997-2007 Ford Econoline v. Volvo

                     XC90, page 30-024 of Binder 4. Uses data from Test Report 270720

                     (bates numbers Test 270720 = VLV1 0438-0457).

              c.     Slides entitled "According to a Volvo document," and "According to a

                     Volvo Test Report," pages 30-198 to 30-204 of Binder 4. These

                     documents all contain pages from Volvo's protected FKB or Volvo's

                     protected test reports (bates numbers: FKB = VLV1 0346-0437, Test

                     256272 = VLV1 0253-0274, Test 258834 = VLVI 0275-0291, Test 260663

                     = VLV1 0229-0252, Test 261760 = VLV1 0203-0228, Test 262279 = VLVI

                     0292-0313, Test 270720 = VLVI 0438-0457).

              d.     FKB Complete Vehicle P2X, bates numbered VCC2 2059-2127.

              e.     P28 Drop Test. Test No 003051. 4 August 2000, bates numbered VCC4

                     0050-0054.

             f.     Dynamic drop-test of a Volvo S80, Test No. 003035, bates numbered

                    VLVI 0229-0252.

             g.     XC90 Rollover. 8 May 2003, bates numbered VCC4 0048-0049.




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           h.    Volvo P28 S3-1 CAE analyses of rollover drop test. 1 April 2001 - 5

                 August 2002, bates numbered VL V 1 0314-0345.

           i.    Volvo Inverted Drop Test Video.m2v, bates numbered VL V 11866.

       j.        Pages from Volvo's Confidential "Crashworthiness FKB," pages 30-206 to

                 30-217 of Binder 4, bates numbered VL V 1 0346-043 7.

       k.        Test report 256272, pages 30-219 to 30-240 of Binder 4, bates numbered

                VLV1 0253-0274.

       1.       Test report 258834, pages 30-242 to 30-258 of Binder 4, bates numbered

                VLVI 0275-0291.

       m.       Test report 260663, pages 30-260 to 30-283 of Binder 4, bates numbered

                VL V 1 0229-0252.

       n.       P28 drop test, pages 30-285 to 30-292 of Binder 4, bates numbered VCC4

                0050-0057.

      o.        Test report 261760, pages 30-294 to 30-319 of Binder 4, bates numbered

                VLV1 0203-0228.

      p.        Test report 262279, pages 30-321 to 30-342 of Binder 4, bates numbered

                VLV1 0292-0313.

      q.        "Volvo P28 S3:1 MU2, S022, and Test 003051 and R2831 —CAE

                Analyses of Rollover Drop Test," pages 30-344 to 30-375 of Binder 4,

                bates numbered VL V 1 0314-0345.

      r.        Test report 270720, pages 30-390 to 30-396 of Binder 4, bates numbered

                VLV1 0438-0444.

      s.        Volvo Technical Report LM-135581, bates numbered 004629-004896.
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                t.     1992 Rollover Advanced Engineering Study, bates numbered VLV2 0213-

                       0251.

                u.     1992 Rollover Advanced Engineering Study in Swedish bates numbered

                       VL Vi 1872-1911.

               V.      TF Rollover MU 1997 bates numbered VL V 4 0001-0026.

               w.     TF Rollover MU 1997 in Swedish bates numbered VL V 1 0664-0689.

               x.     Volvo P28 S3:1 CAE Analysis of Rollover Drop Test bates numbered

                      VLVI 0314-0345.

               y.      FKB Complete Vehicle P2X, bates numbered VCC2 2059-2127.

               z.     FKB Complete Vehicle P28, bates numbered VL V 1 0346-043 7.

               aa.    Test Report 260663, bates numbered VLVI 0229-0252.

               bb.    Test Report 256272, bates numbered VLVI 0253-0274.

               cc.    Test Report 258834, bates numbered VLVI 0275-0291.

               dd.    Test Report 262279, bates numbered VLVI 0292-0313.

               ce.    Test Report 270720, bates numbered VLV1 0438-0444

              ff.     Rollover, bates numbered VCC4 0009-0021.

              gg.     Memo from Ehrs re Report re Volvo Cars Safety Centre, bates numbered

                      VCC6 0339-0341.

              hh.     Test Report 262279, bates numbered VLVI 0292-0313.

              ii.     Test Report 256272, bates numbered VLVI 0253-0274.

              jj.    Test Report 258834, bates numbered VLV1 0275-0291

       7.     If Ford or Volvo learns of other trade secret or proprietary Volvo documents in

the Possession of Plaintiffs' counsel or expert, Ford and Volvo reserve the right to seek

protection of those documents and corresponding testimony under this Order.


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        8.      Protected Documents shall be disclosed only to "Qualified Persons." Qualified

 Persons are limited to:

                a.         Counsel of Record for the parties, and the parties;

                b.         Non-technical and clerical staff employed by Counsel of Record and

                           involved in the preparation and trial of this action;

                c.     Experts and non-attorney consultants retained by the parties for the

                       preparation and/or trial of this case, provided that no disclosure shall be

                       made to any expert or consultant who is employed by a competitor of

                       Ford; and

                d.     The Court, the Court's staff, witnesses, and the jury in this case; and

               e.      With respect to documents designated as "Sharing" or "Subject to

                       Protective Order," attorneys representing Plaintiff(s) and the experts and

                       non-attorney consultants retained by such attorneys in other cases pending

                       against Ford involving a 1999-2007 Ford F-250, F-350, F-450, or F-550

                       involved in a rollover with claims that the roof or restraint system were

                       defective, provided no disclosure shall be made to any expert or consultant

                       who is employed by a competitor of Ford.

       9.      Counsel for all parties in this case must make reasonable efforts to ensure the

individuals described in paragraphs 8(c) and 8(e) above are Qualified Persons.

       10.     Before receiving access to any Protected Document or the information contained

therein, each person described in paragraphs 8(c) and 8(e) above shall execute a "Written

Assurance" in the form contained in Exhibit A, attached hereto. Counsel for all parties in this

case shall retain each such executed Written Assurance and shall keep a list identifying (a) all




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 persons described in paragraphs 8(c) and 8(e) above to whom Protected Documents have been

 disclosed, and (b) all Protected Documents disclosed to such persons. In the event that Ford

 seeks to compel the production of each unredacted and executed Exhibit A for good cause,

 Counsel for all parties in this case shall submit each unredacted and executed Exhibit A and list

to the Court for in camera inspection. Persons described in paragraph 8(b) shall be covered

under the signature of Counsel of Record.

        11.     As the Protected Documents may only be distributed to Qualified Persons,

Plaintiffs/Plaintiffs Counsel, and all persons described in paragraph 8 above, may not post

Protected Documents on any website or internet accessible document repository and shall not

under any circumstance sell, offer for sale, advertise, or publicize either the Protected Documents

and the Confidential information contained therein or the fact that such persons have obtained

Ford's Protected Documents and Confidential information.

        12.    To the extent that Protected Documents or information obtained therefrom are

used in the taking of depositions and/or used as exhibits at trial, such documents or information

shall remain subject to the provisions of this Order, along with the transcript pages of the

deposition testimony and/or trial testimony dealing with, referring to or referencing the Protected

Documents or information.

        13.    All documents that are filed with the Court that contain any portion of any

Protected Document or information taken from any Protected Document shall be filed under seal

pursuant to local court practice or in a sealed envelope or other appropriate sealed container on

which shall be endorsed the title of the action to which it pertains, an indication of the nature of

the contents of such sealed envelope or other container, the phrase "Subject to Protective Order"

or "Subject To Non-Sharing Protective Order," and a statement substantially in the following




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 form: "This envelope or container shall not be opened without order of the Court, except by

 officers of the Court and counsel of record, who, after reviewing the contents, shall return them

to the clerk in a sealed envelope or container."

          14.   Any court reporter or transcriber who reports or transcribes testimony in this

action shall agree that all "confidential" information designated as such under this Order shall

remain "confidential" and shall not be disclosed by them, except pursuant to the terms of this

Order, and that any notes or transcriptions of such testimony (and any accompanying exhibits)

will be retained by the reporter or delivered to counsel of record.

          15.   To the extent Ford is requested to produce documents it has determined should

not be subject to the sharing provision of this protective order in paragraph 8(e), Ford will

designate such documents as "Non-Sharing." Documents designated as "Non-Sharing" shall not

be shared under paragraph 8(e).

          16.   With respect to Protected Documents designated as "Non-Sharing," within one

hundred and twenty (120) days after the conclusion of this case, counsel for the parties who

received Protected Documents, including any documents that any such party disclosed to any

person described in paragraph 8(c) above, shall either (a) return to Ford the Protected

Documents; or (b) securely destroy the Protected Documents and certify such destruction to Ford

within one hundred and fifty (150) days after the conclusion of this case.

         17.    With respect to documents designated as "Sharing" or "Subject to Protective

Order," Counsel for the parties shall not be required to return the Protected Documents to Ford

after the conclusion of this case and may retain the documents pursuant to the terms of this

Order.




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        18.    Inadvertent or unintentional production of documents or information containing

confidential information that should have been designated as Protected Document(s) shall not be

deemed a waiver in whole or in part of the party's claims of confidentiality.

        19.    The parties may disclose and produce responsive documents to each other in this

litigation, and seek to do so without risking waiver of any attorney-client privilege, work product

or other applicable privilege or protection. As such, the parties will adhere to the following

procedures with regard to the production of privileged or protected material, should that occur:

               a.     The production of documents (including both paper documents and

                      electronically stored information or "ESI") subject to protection by the

                      attorney-client and/or work product doctrine or by another legal privilege

                      protecting information from discovery, shall not constitute a waiver of any

                      privilege or other protection, provided that the producing party notifies

                      the receiving party, in writing, of the production after its discovery of the

                      same.

               b.     If the producing party notifies the receiving party after discovery that

                      privileged materials (hereinafter referred to as the "Identified Materials")

                      have been 'produced, the Identified Materials and all copies of those

                      materials shall be returned to the producing party or destroyed or deleted,

                      on request of the producing party. The producing party will provide a

                      privilege log providing information required by the Georgia Civil Practice

                      Act and applicable case law to the receiving party at the time the

                      producing party provides the receiving party notice of the Identified

                      Materials.   If the receiving party has any notes or other work product




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             reflecting the contents of the Identified Materials, the receiving party will

             not review or use those materials unless a court later designates the

             Identified Materials as not privileged or protected.

       c.    The Identified Materials shall be deleted from any systems used to house

             the documents, including document review databases, e-rooms and any

            other location that stores the documents. The receiving party may make

            no use of the Identified Materials during any aspect of this matter or any

            other matter, including in depositions or at trial, unless the documents

            have been designated by a court as not privileged or protected.

       d.   The contents of the Identified Materials shall not be disclosed to anyone

            who was not already aware of the contents of them before the notice was

            made.    The receiving party must take reasonable steps to retrieve the

            Identified Materials if the receiving party disclosed the Identified

            Materials before being notified.

      e.    If any receiving party is in receipt of a document from a producing party

            which the receiving party has reason to believe is privileged, the receiving

            party shall in good faith take reasonable steps to promptly notify the

            producing party of the production of that document so that the producing

            party may make a determination of whether it wishes to have the

            documents returned or destroyed pursuant to this Stipulation and Order.

      f.    The party returning the Identified Materials may move the Court for an

            order compelling production of some or all of the Identified Material
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                       returned or destroyed, but the basis for such motion may not be based on

                       the fact or circumstances of the production.

               g.     The disclosure of Identified Materials in this action is not a waiver of the

                      attorney-client privilege, work product doctrine or any other asserted

                      privilege in any other federal or state proceeding.

       20.     In the event that a party produces a document without a confidentiality

designation as permitted by this Order, the following procedures shall apply:

               a.     The producing party shall, within fourteen (14) days of the discovery of

                      the disclosure, notify the other party in writing. The party receiving such

                      notice shall promptly destroy the document, including any copies it has, or

                      return the document on request of the producing party. Within ten (10)

                      days after such document is returned or its destruction certified, the

                      producing party will produce a new version of any such document that

                      was   returned   or destroyed,     which will     contain the appropriate

                      confidentiality designation.

              b.      If the receiving party disputes the producing party's claim of

                      confidentiality, that party may move the Court to challenge the

                     confidential designation in accordance with Paragraph 4 of this Order. If

                     the receiving party elects to file such a motion, the receiving party may

                     retain possession of the document, but shall treat it in accordance with the

                     terms of the Protective Order pending resolution of the motion.       If the

                     receiving party's motion is denied, the parties shall promptly comply with

                     Paragraph 20(a) of this Order.




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                   c.      The production of such document does not constitute a waiver of any

                           claim of confidentiality as set forth in this order or any other matter in any

                           other jurisdiction, unless otherwise ordered by the Court.

         21.       This Protective Order may not be waived, modified, abandoned or terminated, in

 whole or part, except by an instrument in writing signed by the parties. If any provision of this

Protective Order shall be held invalid for any reason whatsoever, the remaining provisions shall

not be affected thereby.

         22.       After termination of this litigation, the provisions of this Order shall continue to

be binding. This Court retains and shall have jurisdiction over the parties and recipients of the

Protected Documents for enforcement of the provisions of this Order following termination of

this litigation.

        23.        This Protective Order shall be binding upon the parties in this case, upon their

attorneys, and upon the parties' and their attorneys' successors, executors, personal

representatives, administrators, heirs, legal representatives, assigns, subsidiaries, divisions,

employees, agents, independent contractors, or other persons or organizations over which they

have control.




                                                                                            ,2015.
            utler, Jr., Esq.
      la Bar No. 099625
Brandon L. Peak, Esq.
Georgia Bar No. 141605
Morgan E. Duncan, Esq.
Georgia Bar No. 159929
BUTLER WOOTEN CHEELEY & PEAK, LLP
105 13th Street
Post Office Box 2766
Columbus, Georgia 31902


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                                                                    150




                                           DATED:                      , 2015.
Mich el R. Boorman, Esq.
Georgia Bar No. 067798
David A. Terry, Esq.
Georgia Bar No. 051508
HUFF, POWELL & BAILEY, LLC
999 Peachtree Street NE
Suite 950
Atlanta, Georgia 30309
Attorneys for Defendant Ford
Motor Company

      So Ordered, this/ t day of            , 2015.



                                     tiLlos4-0-^"      A--49-vte
                                   Honorable Irma Glover
                                   Judge, State Court of Cobb County




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                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA         17 MAR
                                                                                   20 PH
                                                                                            3: 02
KIM HILL and ADAM HILL, surviving                                       RicHARO
children and Co-Administrators of the                                                      f?, CI ERK
Estates of Melvin Hill and Voncile Hill,
deceased,

       Plaintiffs,
                                                           CIVIL ACTION FILE NO.:
V.                                                               16 C 04179-2

FORD MOTOR COMPANY, THE PEP
BOYS-MANNY, MOE & JACK (Inc.),
CURTIS CLINTON THOMPSON, JR.,
WILLIE BRASWELL, and DONALD
TAYLOR,

       Defendants.



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       In order to preserve and maintain the confidentiality of certain confidential, commercial

and/or proprietary documents and information produced or to be produced by FORD MOTOR

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notice "Subject to Non-Sharing Protective Order," "Subject to Protective Order," "Confidential,"

or substantially similar language on media containing Protected Documents, on the document

itself, or on a copy of the document, in such a way that it does not obscure the text or other

content of the document.
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        2.       As used in this Order, the term "documents" means all written material,

videotapes and all other tangible items, produced in whatever format (e.g., hard copy, electronic,

digital, etc.) and on whatever media (e.g., hard copy, videotape, computer diskette, CD-ROM,

DVD, hard drive or otherwise).

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as provided in this Order. However, nothing in this Order shall limit a party's use or disclosure

of his or her own information designated as Confidential Material.

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will so notify Ford in a written letter, within 60 days of receipt of the confidential documents and

information, identifying the challenged document(s) with specificity, including Bates-number(s)

where available. If the parties are unable to resolve the issue of confidentiality regarding the

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herein.   Except as otherwise indicated, all Volvo documents designated as "Confidential,"

"Subject to Protective Order," or words to that effect, and corresponding testimony, shall be

Protected Documents and be given confidential treatment as described herein.

               a.    Roof Strength Related to Weight Volvo XC90, page 30-012 of Binder

                     4. References FKB & Test Report 270720 (bates numbers: FKB =

                     VLVI 0346-0437, Test 270720 = VLVI 0438-0457).

              b.     Chart: FMVSS 216 Plot Comparison 1997-2007 Ford Econoline v. Volvo

                     XC90, page 30-024 of Binder 4. Uses data from Test Report 270720

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               c.     Slides entitled "According to a Volvo document," and "According to a

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                     documents all contain pages from Volvo's protected FKB or Volvo's

                     protected test reports (bates number: FKB = VLV1 0346-0437, Test

                     256272 = VLV1 0253-0274, Test 258834 = VLV1 0275-0291, Test

                     260663 = VLV1 0229-0252, Test 261760 = VLV1 0203-0228, Test

                     262279 = VLV1 0292-0313, Test 270720 = VLV1 0438-0457).

              d.     FKB Complete Vehicle P2X, bates numbered VCC2 2059-2127.

              e.     P28 Drop Test. Test No. 003051. 4 August 2000, bate numbered VCC4

                     0050-0054.

              f.     Dynamic drop-test of a Volvo S80, Test No. 003035, bates numbered

                     VLV1 0229-0252.

              g.     XC90 Rollover. 8 May 2003, bates numbered VCC4 0048-0049.




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    h.    Volvo P28 S3-1 CAE analyses of rollover drop test. 1 April 2001- 5

          August 2002, bates number VLV1 0314-0345.

    i.    Volvo Inverted Drop Test Video.m2v, bates numbered VLV1 1866.

    j.    Pages from Volvo's Confidential "Crashworthiness FKB," pages 30-206

          to 30-217 of Binder 4 bates numbered VLV1 0346-0437.

    k.    Test report 256272, pages 30-219 to 30-240 of Binder 4, bates

          numbered VLV1 0253-0274.

    L     Test report 258834, pages 30-242 to 30-258 of Binder 4, bates

          numbered VLV1 0275-0291.

    m.    Test report 260663, pages 30-260 to 30-283 of Binder 4, bates

          numbered VLV1 0229-0252.

    n.    P28 drop test, pages 30-285 to 30-292 of Binder 4, bates numbered

          VCC4 0050-0057.

    o.    Test report 261760, pages 30-294 to 30-319 of Binder 4, bates

          numbered VLV1 0203-0228.

    p.    Test report 262279, pages 30-321 to 30-342 of Binder 4, bates

          numbered VLV1 0292-0313.

    q.    "Volvo P28 S3:1 MU2, S022, and Test 003051 and R2831 —

          CAE Analyses of Rollover Drop Test," pages 30-344 to 30-375 of

          Binder 4, bates numbered VLV1 0314-0345.

    r.    Test report 270720, pages 30-390 to 30-396 of Binder 4, bates

          numbered VLV1 0438-0444.

    s.    Volvo Technical Report LM-135581, bates numbered 004629-004896.
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      t.    1992 Rollover Advanced Engineering Study, bates numbered VLV2

            0213- 0251.

      u.    1992 Rollover Advanced Engineering Study in Swedish bates

            numbered VLV1 1872-1911.

      v.    TF Rollover MU 1997 bates numbered VLV4 0001-0026.

      w.    TF Rollover MU 1997 in Swedish bates numbered VLV1 0664-0689.

      x.    Volvo P28 S3:1 CAE Analysis of Rollover Drop Test bates

            numbered VLVI 0314-0345.

      y.    FKB Complete Vehicle P2X, bates numbered VCC2 2059-2127.

      z.    FKB Complete Vehicle P28, bates numbered VLV1 0346-0437.

      aa.   Test Report 260663, bates numbered VLVI 0229-0252.

      bb.   Test Report 256272, bates numbered VLVI 0253-0274.

      cc.   Test Report 258834, bates numbered VLV1 0275-0291.

      dd.   Test Report 262279, bates numbered VLV1 0292-0313.

      ee.   Test Report 270720, bates numbered VLVI 0438-0444.

      ff.   Rollover, bates numbered VCC4 0009-0021.

      gg.   Memo from Ehrs re Report re Volvo Cars Safety Centre, bates

            numbered VCC6 0339-0341.

      hh.   Test Report 262279, bates numbered VLVI 0292-0313.

      ii.   Test Report 256272, bates numbered VLV1 0253-0274.

      jj.   Test Report 258834, bates numbered VLV1 0275-0291.
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       7.       If Ford or Volvo learns of other trade secret or proprietary Volvo documents in

the Possession of Plaintiffs' Counsel or expert, Ford and Volvo reserve the right to seek

protection of those documents and corresponding testimony under this Order.

       8.       Protected Documents shall be disclosed only to "Qualified Persons."

Qualified Persons are limited to:

                a.     Counsel of Record for the parties, and the parties;

                b.     Non-technical and clerical staff employed by Counsel of Record and

                       involved in the preparation and trial of this action;

                c.     Experts and non-attorney consultants retained by the parties for the

                       preparation and/or trial of this case, provided that no disclosure shall be

                       made to any expert or consultant who is employed by a competitor of

                       Ford; and

                d.     The Court, the Court's staff, witnesses, and the jury in this case; and

                e.     With respect to documents designated as "Sharing" or "Subject to

                       Protective Order," attorneys representing Plaintiff(s) and the experts and

                       non-attorneys consultants retained by such attorneys in other cases

                       pending against Ford involving a 1999-2007 Ford F-250, F-350, F-450, or

                       F-550 involved in a rollover with claims that the roof or restraint system

                       were defective, provided no disclosure shall be made to any expert or

                       consultant who is employed by a competitor of Ford.

       9.       Counsel for all parties in this case must make reasonable efforts to ensure

the individuals described in paragraphs 8(c) and 8(e) above are Qualified Persons.




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       10.     Before receiving access to any Protected Document or the information

contained therein, each person described in paragraphs 8(c) and 8(e) above shall

execute a "Written Assurance" in the form contained in Exhibit A, attached hereto.

Counsel for all parties in this case shall retain each such executed Written Assurance and

shall keep a list identifying (a) all persons described in paragraphs 8(c) and 8(e) above to

whom Protected Documents have been disclosed, and (b) all Protected Documents

disclosed to such persons. In the event that Ford seeks to compel the production of each

unredacted and executed Exhibit A for good cause, Counsel for all parties in this case

shall submit each unredacted and executed Exhibit A and list to the Court for in camera

inspection. Persons described in paragraph 8(b) shall be covered under the signature of

Counsel of Record.

       11.     As the Protected Documents may only be distributed to Qualified

Persons, Plaintiff s/Plaintiffs' Counsel, and all persons described in paragraph 8 above,

may not post Protected Documents on any website or internet accessible document

repository and shall not under any circumstance sell, offer for sale, advertise, or publicize

either the Protected Documents and the Confidential information contained therein or the

fact that such persons have obtained Ford's Protected Documents and Confidential

information.

       12.     To the extent that Protected Documents or information obtained therefrom

are used in the taking of depositions and/or used as exhibits at trial, such documents or

information shall remain subject to the provisions of this Order, along with the

transcript pages of the deposition testimony and/or trial testimony dealing with, referring to

or referencing the Protected Documents or information.




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       13.    All documents that are filed with the Court that contain any portion of

any Protected Document or information taken from any Protected Document shall be filed

under seal pursuant to local court practice or in a sealed envelope or other appropriate

sealed container on which shall be endorsed the title of the action to which it pertains, an

indication of the nature of the contents of such sealed envelope or other container, the phrase

"Subject to Protective Order," or "Subject To Non-Sharing Protective Order," and a

statement substantially in the following form:      "This envelope or container shall not be

opened without order of the Court, except by officers of the Court and counsel of record,

who, after reviewing the contents, shall return them to the clerk in a sealed envelope or

container."

       14.    Any court reporter or transcriber who reports or transcribes testimony in this

action shall agree that all "confidential" information designated as such under this Order

shall remain "confidential" and shall not be disclosed by them, except pursuant to the terms

of this Order, and that any notes or transcriptions of such testimony (and any accompanying

exhibits) will be retained by the reporter or delivered to counsel of record.

       15.    To the extent Ford is requested to produce documents it has determined should

not be subject to the sharing provision of this protective order in paragraph 8(e), Ford will

designate such documents as "Non-Sharing." Documents designated as "Non-Sharing" shall

not be shared under paragraph 8(e).

       16.    With respect to Protected Documents designated as "Non-Sharing," within one

hundred and twenty (120) days after the conclusion of this case, counsel for the parties who

received Protected Documents, including any documents that any such party disclosed to any

person described in paragraph 8(c) above, shall either (a) return to Ford the Protected




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Documents; or (b) securely destroy the Protected Documents and certify such destruction to

Ford within one hundred and fifty (150) days after the conclusion of this case.

         17.   With respect to documents designated as "Sharing" or Subject to Protective

Order," Counsel for the parties shall not be required to return the Protected Documents to Ford

after the conclusion of this case and may retain the documents pursuant to the terms of this

Order.

         18.   Inadvertent or unintentional production of documents or information containing

confidential information that should have been designated as Protected Documents(s) shall not

be deemed a waiver in whole or in part of the party's claims of confidentiality.

         19.   The parties may disclose and produce responsive documents to each other in this

litigation, and seek to do so without risking waiver of any attorney-client privilege, work

product or other applicable privilege or protection. As such, the parties will adhere to the

following procedures with regard to the production of privileged or protected material, should

that occur:

               a.     The production of documents (including both paper documents and

                      electronically stored information or "ES I") subject to protection by the

                      attorney-client and/or work product doctrine or by another legal privilege

                      protecting information from discovery, shall not constitute a waiver of

                      any privilege or other protection, provided that the producing party

                      notifies the receiving party, in writing, of the production after its

                      discovery of the same.

               b.     If producing party notifies the receiving party after discovery that

                      privileged materials (hereinafter referred to as the "Identified Materials")




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          have been produced, the Identified Materials and all copies of those

          materials shall be returned to the producing party or destroyed or

          deleted, on request of the producing party. The producing party will

          provide a privilege log providing information required by the Georgia

          Civil Practice Act and applicable case law to the receiving party at the

          time the producing party provides the receiving party notice of the

          Identified Materials. If the receiving party has any notes or other work

          product reflecting the contents of the Identified Materials, the receiving

          party will not review or use those materials unless a court later

          designates the Identified Materials as not privileged or protected.

    c.    The Identified Materials shall be deleted from any systems used to

          house the documents, including document review databases, e-rooms

          and any other location that stores the documents. The receiving party

          may make no use of the Identified Materials during any aspect of this

          matter or any other matter, including in depositions or at trial,

          unless the documents have been designated by a court as not privileged

          or protected.

    d.    The contents of the Identified Materials shall not be disclosed to

          anyone who was not already aware of the contents of them before the

          notice was made. The receiving party must take reasonable steps to

          retrieve the Identified Materials if the receiving party disclosed

          the Identified Materials before being notified.
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               e.    If any receiving party is in receipt of a document from a producing

                     party which the receiving party has reason to believe is privileged, the

                     receiving party shall in good faith take reasonable steps to

                     promptly notify the producing party of the production of that

                     document so that the producing party may make a determination

                     of whether it wishes to have the documents returned or destroyed

                     pursuant to this Stipulation and Order.

               f.    The party returning the Identified Materials may move the Court for an

                     order compelling production of some or all of the Identified Material

                     returned or destroyed, but the basis for such motion may not be based on

                     the fact or circumstances of the production.

               g.    The disclosure of Identified Materials in this action is not a waiver of the

                     attorney-client privilege, work product doctrine or any other asserted

                     privilege in any other federal or state proceeding.

         20.   In the   event that      a   party produces          a   document    without    a

confidentiality designation as permitted by this Order, the following procedures shall

apply:

               a.    The producing party shall, within fourteen (14) days of the

                     discovery of the disclosure, notify the other party in writing. The

                     party receiving such notice shall promptly destroy the document,

                     including any copies it has, or return the document on request of

                     the producing party. Within ten (10) days after such document is

                     returned or its destruction certified, the producing party will




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                       produce a new version of any such document that was returned or

                       destroyed, which will contain the appropriate confidentiality

                       designation.

               b.      If the receiving party disputes the producing party's claim of

                       confidentiality, that party may move the Court to challenge the

                       confidential designation in accordance with Paragraph 4 of this

                       Order.   If the receiving party elects to file such a motion, the

                       receiving party may retain possession of the document, but shall

                       treat it in accordance with the terms of the Protective Order

                       pending resolution of the motion. If the receiving party's motion

                       is denied, the parties shall promptly comply with Paragraph 20(a)

                       of this Order.

               c.      The production of such document does not constitute a waiver of

                       any claim of confidentiality as set forth in this order or any other

                       matter in any other jurisdiction, unless otherwise ordered by the

                       Court.

       21.     This Protective Order may not be waived, modified, abandoned or terminated, in

whole or part, except by an instrument in writing signed by the parties. If any provision of this

Protective Order shall be held invalid for any reason whatsoever, the remaining provisions shall

not be affected thereby.

       22.     After termination of this litigation, the provisions of this Order shall continue to

be binding. This Court retains and shall have jurisdiction over the parties and recipients of the




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Protected Documents for enforcement of the provisions of this Order following termination of

this litigation.

         23.       This Protective Order shall be binding upon the parties in this case, upon their

attorneys, and upon the parties' and their attorneys' successors, executors, personal

representative, administrators, heirs, legal representatives, assigns, subsidiaries, divisions,

employees, agents, independent contractors, or other persons or organizations over which they

have control.


                                                AW?          DATED:   March 13, 2017
      es E. Butler, Jr., Esq.
Georgia Bar No. 099625
(signed with express permission by Audrey K. Berland)
Brandon L. Peak, Esq.
Georgia Bar No. 141605
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Attorneys for Plaintiff




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                                                DATED:        March 13, 2017.
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Suite 5300
Atlanta, Georgia 30308
Attorneys for Defendant Ford
Motor Company

       So Ordered, this 20 day of   i4.44rc        , 2017




                                          The Honorable Shawn F. Bratton
                                          Judge, State Court of Gwinnett County
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                 Exhibit 2
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Philip A. Henderson

From:                              Jim Butler <jim@butlerprather.com>
Sent:                              Friday, July 28, 2023 8:12 PM
To:                                'Peeler, Charles E.'; Elizabeth Wright (Elizabeth.wright@thompsonhine.com); Melton,
                                   Harold D.
Cc:                                Philip A. Henderson; Michael R. Boorman; Michelle L. H. Miller; Ramsey Prather; Dan
                                   Philyaw; Allison Bailey; Kim McCallister; Sarah Andrews; Nick Giles; Waldbeser, Elizabeth
                                   P.
Subject:                           RE: Mills v. Ford - JPRSO - Ford proposed "protective order"
Attachments:                       2023-07-15 Plaintiffs' proposed Stipulation re Discovery from Hill v. Ford.docx;
                                   2023-07-18 - Plaintiffs second REVISED proposed Stipulation regarding Documents
                                   TENDERED IN evidence in Hill v. Ford_.docx; 2023-07-28 - Ps redline edits to proposed
                                   stip sent by Ford counsel though dated 7-24-23 - Ford Proposed Stipulation re 6 depos
                                   of Ford roof engineers .docx; 2022-02-28 Order Granting Confidentiality Agreement and
                                   Consent Protective Order + Ex A (Doc 37, 37-1).pdf


Ford Counsel:

It really is unfortunate that communica ons with Ford are so diﬃcult. Once again you did not respond to all of my
email. I asked “Also state whether that was a s pulated, that is to say, agreed, PO or one Judge Land entered based on
his adjudica on of the par es’ respec ve posi ons. “ No response. Which meant we had to look it up. That was
unnecessary, since Ford counsel in this case is also Ford counsel in the Chris an, and of course knew the answer.

The answer is that the PO in the Chris an case was a consent, s pulated PO – in other words the PO prepared by
Ford. It appears to be much like the PO Ford obtained in Hill v. Ford, which we already told you was the kind of order to
which these Plain ﬀs will not agree. Ford’s proposal in the Chris an case, repeated in this case, is not a sharing order.
For example it allows Ford unilaterally and without proving any en tlement to concealment from others to designate
whatever documents Ford wants to so designate as “non-sharing.” There is also no carve-out for documents already in
the public domain, because either tendered and/or admi ed into evidence in the public and televised trial of Hill v.
Ford. As Ford knows, and as Ford counsel knows, since Ford counsel in this case was also counsel in the Hill case, there
is a pending mo on to modify the PO Ford got in the Hill case.

Ford could have sent that same-as-Chris an case dra PO as promised on 7/19, rather than wai ng un l 720 pm
yesterday.

Plain ﬀs’ counsel could of course send Ford a redline of the PO dra you sent last night. But it seems that would be a
waste of me, and we have much else to do by August 2, while I am supposed to be on ‘vaca on,’ as I advised Ford days
ago, with a weekend intervening and a full day of travel back to Georgia, for me. (I had expected to be able to mostly
wrap all these things quickly- based on what Ford counsel told us on 7/18 about when they would provide a proposed
PO, Ford’s inserts to the JPRSO, and Ford’s responses to our two proposed s pula ons.)

To determine if it would be a waste of me to send Ford a redline of its Hill/Chris an form PO, just tell us (1) if Ford will
agree to a sharing PO, where if Ford want to label some document “conﬁden al” and Plain ﬀs do not agree then Ford
must do what the law requires – pe on the Court for a determina on whether said document is en tled to
‘conﬁden ality,’ and (2) if Ford will carve out of the PO en rely all those documents produced by Ford that were
tendered into evidence in either of the Hill trials.




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If Ford will not agree to those two things, or if Ford elects to not respond, then Ford needs to go ahead and ﬁle its
mo on for protec ve order with the Court, and there demonstrate Ford’s claimed legal en tlement to the
‘conﬁden ality’ (and en tlement to designate some document ‘non-sharing’) which Ford seeks.

In hopes to save us all some work on at least this one thing – a proposed PO – a ached please ﬁnd the Order entered by
Judge Land in the Harris case (“H&L Farms” et. al) - a case we tried in April 2023. That was a ‘consent’ order – we, as
Plain ﬀs’ counsel, worked it out by agreement with defense counsel for ﬁve defendants in that case. The Plain ﬀs in
this Mills case would agree to such a conﬁden ality order, with the addi on of the usual sharing provisions (Plain ﬀs
may share documents with other plain ﬀs’ counsel who have similar cases).

The work we have to now do in limited me includes ﬁnalizing the JPRSO – which has been delayed because Ford did not
get its inserts to un l 720 pm yesterday (7/27), a er promising it by 7/21, and is made more diﬃcult by your failure to
send to us a redline of the redline we sent to you of our edits to the Ford version of our proposed JPRSO, which
proposed JPRSO we ﬁrst sent to you on 7/12 That work also includes trying to sort out what Ford’s posi on is regarding
s pula ons. We sent to Ford counsel two proposed s pula ons on 7/15 – before the R26 conference – one about
wri en discovery obtained in the Hill case (a ached) and the other about documents used in the Hill case (the la er was
revised on 7/18 a er the R26 conference, which revised version is a ached). Ford counsel promised during the R26
conference to promptly respond to both proposed s pula ons, as I recall. Unless I’m missing something (en rely
possible, given the blizzard of emails we’ve had to wade through), Ford has not responded about either of Plain ﬀs’
proposed s pula ons.

You did send to us, last night, a Ford proposed “S pula on Regarding Deposi ons,” limited to the six videotaped trial
deposi ons of Ford roof engineers about the subject Super Duty trucks which we took in the Hill case (with Ford counsel
present, of course). That proposed s pula on stated that said deposi ons “shall be deemed taken” in this case but
“Ford reserves all objec ons to the admissibility and use” of those deposi ons in this case, which would seem to
eviscerate the s pula on. That proposed s pula on also purports to make any use of those six deposi ons subject to
the Hill PO Ford obtained, which PO we’ve told you is unacceptable to us in this case and which PO is the subject of
pending li ga on in the Hill case itself, as noted above. (The document that is the said proposed s pula on you sent
last night bears the date “7/24/23,” but you sent it to us last night (7/27)).

A third s pula on, speciﬁc to those videotaped deposi ons of six Ford roof engineers we took in Hill, is ﬁne with us, but
not with he odd and objec onable wording of the document Ford sent last night. A redline of the proposed s pula on
limited to those six deposi ons is a ached (3rd a achment). Plain ﬀs will not agree that use in this case of those
deposi ons will be subject to any PO, since all six deposi ons were played at both of the two Hill trials – in public, and
telecast, and have been reproduced in the trial transcript of the second Hill trial, which is publicly available in the
Gwinne County Clerk’s Oﬃce. Use of those six deposi ons in this case certainly should not be subject to the PO Ford
obtained in the Hill case.

Jim Butler



From: Peeler, Charles E. <Charles.Peeler@troutman.com>
Sent: Friday, July 28, 2023 4:20 PM
To: Jim Butler <jim@butlerprather.com>; Elizabeth Wright (Elizabeth.wright@thompsonhine.com)
<Elizabeth.wright@thompsonhine.com>; Melton, Harold D. <Harold.Melton@troutman.com>
Cc: phenderson@watsonspence.com; mboorman@watsonspence.com; Michelle L. H. Miller
<mmiller@watsonspence.com>; Ramsey Prather <ramsey@butlerprather.com>; Dan Philyaw
<dan@butlerprather.com>; Allison Bailey <allison@butlerprather.com>; Kim McCallister <kim@butlerprather.com>;
Sarah Andrews <sarah@butlerprather.com>; Nick Giles <nick@butlerprather.com>; Waldbeser, Elizabeth P.
<Elizabeth.Waldbeser@troutman.com>
Subject: RE: Mills v. Ford - JPRSO - Ford proposed "protective order"

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Jim,

Attached is the stipulated sharing and non-sharing protective order from the Christian case.

Charlie

Charles E. Peeler
Partner
troutman pepper
Direct: 404.885.3409 | Mobile: 229.343.3905 | Internal: 11-3409
charles.peeler@troutman.com

□∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙□-



From: Jim Butler <jim@butlerprather.com>
Sent: Thursday, July 27, 2023 7:17 PM
To: Peeler, Charles E. <Charles.Peeler@troutman.com>; Elizabeth Wright (Elizabeth.wright@thompsonhine.com)
<Elizabeth.wright@thompsonhine.com>; Melton, Harold D. <Harold.Melton@troutman.com>
Cc: phenderson@watsonspence.com; mboorman@watsonspence.com; Michelle L. H. Miller
<mmiller@watsonspence.com>; Ramsey Prather <ramsey@butlerprather.com>; Dan Philyaw
<dan@butlerprather.com>; Allison Bailey <allison@butlerprather.com>; Kim McCallister <kim@butlerprather.com>;
Sarah Andrews <sarah@butlerprather.com>; Nick Giles <nick@butlerprather.com>; Waldbeser, Elizabeth P.
<Elizabeth.Waldbeser@troutman.com>
Subject: RE: Mills v. Ford - JPRSO - Ford proposed "protective order"
Ford Co unsel : We see no p ossi ble conne c on between a “protec ve or der” in thi s case a nd Plain ﬀs’ pr oposed S pula o n regarding d ocume nts tend ered in evide nce in Hill v. Ford. Said do cu ment s were use d in a pu blic and televised trial. If
ZjQcmQRYFp fptBa nnerStart




                           CAUTION: This message came from outside the firm. DO NOT click links or open attachments unless you recognize this sender
                           (look at the actual email address) and confirm the content is safe.

ZjQcmQRYFp fptBa nnerE nd




Ford Counsel:

We see no possible connec on between a “protec ve order” in this case and Plain ﬀs’ proposed S pula on regarding
documents tendered in evidence in Hill v. Ford. Said documents were used in a public and televised trial. If you see
some connec on, kindly tell us what it is. We ask again that Ford agree to said S pula on, which is a ached again. If
Ford is not going to do so before August 2, let us know so we can ﬁle a mo on.

Kindly send “the protective order Judge Land entered recently in February of this year in Christian v. Ford. “

Also state whether that was a s pulated, that is to say, agreed, PO or one Judge Land entered based on his adjudica on
of the par es’ respec ve posi ons.

Jim Butler

From: Peeler, Charles E. <Charles.Peeler@troutman.com>
Sent: Thursday, July 27, 2023 7:02 PM
To: Jim Butler <jim@butlerprather.com>; Elizabeth Wright (Elizabeth.wright@thompsonhine.com)
<Elizabeth.wright@thompsonhine.com>; Melton, Harold D. <Harold.Melton@troutman.com>
Cc: phenderson@watsonspence.com; mboorman@watsonspence.com; Michelle L. H. Miller
<mmiller@watsonspence.com>; Ramsey Prather <ramsey@butlerprather.com>; Dan Philyaw
<dan@butlerprather.com>; Allison Bailey <allison@butlerprather.com>; Kim McCallister <kim@butlerprather.com>;
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                                                                                                                                                                            Case 1:23-cv-03107-TWT
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Sarah Andrews <sarah@butlerprather.com>; Nick Giles <nick@butlerprather.com>; Waldbeser, Elizabeth P.
<Elizabeth.Waldbeser@troutman.com>
Subject: RE: Mills v. Ford - JPRSO - Ford proposed "protective order"

Dear Jim –

Apologies for the delay in returning the JPRSO, but we are attempting to work through the protective order and
stipulation issues at the same time. To that end, attached are:

1.   Ford’s revised draft of the JPRSO;
2.   Stipulation on Ford employee depositions; and
3.   Protective Order, modeled after and similar to the protective order Judge Land entered recently in
February of this year in Christian v. Ford.

The scope of the stipulation regarding the use of discovery responses and documents from Hill is dependent,
in part, on entry of an agreeable protective order in this matter. As reflected in the JPRSO, we feel it is
appropriate to work that out first then anticipate returning to you that stipulation with some slight revisions.

Thanks, Charlie


Charles E. Peeler
Partner
troutman pepper
Direct: 404.885.3409 | Mobile: 229.343.3905 | Internal: 11-3409
charles.peeler@troutman.com

□∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙□-



From: Jim Butler <jim@butlerprather.com>
Sent: Thursday, July 27, 2023 4:07 PM
To: Peeler, Charles E. <Charles.Peeler@troutman.com>; Elizabeth Wright (Elizabeth.wright@thompsonhine.com)
<Elizabeth.wright@thompsonhine.com>; Melton, Harold D. <Harold.Melton@troutman.com>
Cc: phenderson@watsonspence.com; mboorman@watsonspence.com; Michelle L. H. Miller
<mmiller@watsonspence.com>; Ramsey Prather <ramsey@butlerprather.com>; Dan Philyaw
<dan@butlerprather.com>; Allison Bailey <allison@butlerprather.com>; Kim McCallister <kim@butlerprather.com>;
Sarah Andrews <sarah@butlerprather.com>; Nick Giles <nick@butlerprather.com>
Subject: FW: Mills v. Ford - JPRSO - Ford proposed "protective order"
Ford Co unsel : At the R26 con ference o n 7/18 F ord counsel said For d would get to us Ford’ s inserts to the JP RSO “by the en d of th e week. ” T he “e nd o f the week” was 7/21. Where is For d’s version? A er the
ZjQcmQRYFp fptBa nnerStart




                           CAUTION: This message came from outside the firm. DO NOT click links or open attachments unless you recognize this sender
                           (look at the actual email address) and confirm the content is safe.

ZjQcmQRYFp fptBa nnerE nd




Ford Counsel:

At the R26 conference on 7/18 Ford counsel said Ford would get to us Ford’s inserts to the JPRSO “by the end of the
week.” The “end of the week” was 7/21. Where is Ford’s version? After the R26 conference on 7/18 I sent to you
redline edits to Ford’s edits to the JPRSO we had prepared pursuant to the R26 conference. See 1 st attachment.

The JPRSO is due to be filed with the Court on 8/2. As I told you earlier, I am supposedly “on vacation” this week. I will
be traveling all day 7/31. Autopsies will be underway on 8/2. We hope Ford provides us Ford’s inserts to the JPRSO
before ‘the last minute’.
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At the R26 conference on 7/18 Ms. Wright said Ford would get its proposed “protective order” to us by 7/19. Where is
it? (Please recall that we told you then that Plaintiffs in this case would not agree to the onerous terms in the protective
order Ford obtained in the Hill case, so please don’t waste everyone’s time by sending a variant of that document.)

At the R26 conference on 7/18 Ford counsel said Ford would get back to us expeditiously regarding Ford’s response to
Plaintiffs’ proposed stipulation. See 2nd attachment. What IS Ford’s response?

Thank you.

Jim Butler


-----Original Message-----
From: Jim Butler
Sent: Monday, July 24, 2023 10:47 AM
To: Charles Peeler <charles.peeler@troutman.com>; Elizabeth Wright <Elizabeth.wright@thompsonhine.com>
Cc: Harold Melton <Harold.Melton@troutman.com>; Philip A. Henderson <phenderson@watsonspence.com>;
mmiller@watsonspence.com; Boorman Mike <mboorman@watsonspence.com>; Ramsey Prather
<ramsey@butlerprather.com>; Dan Philyaw <dan@butlerprather.com>; LaRae Moore <ldm@psstf.com>; Allison Bailey
<allison@butlerprather.com>; Kim McCallister <kim@butlerprather.com>; Sarah Andrews <sarah@butlerprather.com>
Subject: Mills v. Ford - Ford proposed protective order

Ford counsel: you said at the R26 conference that you would have this draft to us by last Wednesday 7/19. Where is it?

Thank you.



From: Jim Butler
Sent: Tuesday, July 18, 2023 4:42 PM
To: 'Philip A. Henderson' <phenderson@watsonspence.com>; Ramsey Prather <ramsey@butlerprather.com>;
'Harold.melton@troutman.com' <Harold.melton@troutman.com>; 'Charles.peeler@troutman.com'
<Charles.peeler@troutman.com>; Elizabeth Wright (Elizabeth.wright@thompsonhine.com)
<Elizabeth.wright@thompsonhine.com>
Cc: Dan Philyaw <dan@butlerprather.com>; Allison Bailey <allison@butlerprather.com>; Kim McCallister
<kim@butlerprather.com>; Beth Glen <beth@butlerprather.com>; Sarah Andrews <sarah@butlerprather.com>;
'Wright, Elizabeth' <elizabeth.wright@thompsonhine.com>; 'Michelle L. H. Miller' <mmiller@watsonspence.com>;
mboorman@watsonspence.com
Subject: RE: Mills v. Ford - JPRSO &

Ford Counsel:

To expedite considera on of a proposed SO I prepared the a ached redline edits to the version Charlie sent to me at
234 pm today before the 300 pm R26 conference. No other member of Plain ﬀs’ Team has had a chance to review this,
as both Ramsey and Dan are literally on the road this a ernoon.

But this should be near-to-ﬁnal with respect to our parts.

Also a ached is the second revised proposed s pula on regarding FORD documents tendered at the two Hill trials –
clarifying this par cular s pula on regards Ford documents.

We look forward to ge ng Ford’s proposed “protec ve order” tomorrow.
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And ge ng Ford’s responses to our two proposed s pula ons asap before 8/2, when the JPRSO has to be submi ed.

If Ford has any other proposals to streamline this li ga on and avoid the disputa ousness and delay which a ended the
Hill v. Ford case and necessitated so much wri en discovery and so many mo ons, Plain ﬀs’ counsel would love to see
such proposals.

Thank you.

Jim Butler

From: Jim Butler
Sent: Tuesday, July 18, 2023 1:38 PM
To: 'Philip A. Henderson' <phenderson@watsonspence.com>; Ramsey Prather <ramsey@butlerprather.com>;
'Harold.melton@troutman.com' <Harold.melton@troutman.com>; 'Charles.peeler@troutman.com'
<Charles.peeler@troutman.com>; 'Michael R. Boorman' <mboorman@watsonspence.com>
Cc: Dan Philyaw <dan@butlerprather.com>; Allison Bailey <allison@butlerprather.com>; Kim McCallister
<kim@butlerprather.com>; Beth Glen <beth@butlerprather.com>; Sarah Andrews <sarah@butlerprather.com>;
'Wright, Elizabeth' <elizabeth.wright@thompsonhine.com>; 'Michelle L. H. Miller' <mmiller@watsonspence.com>
Subject: RE: Mills v. Ford - Conference Under FRCP 16 and 26

Ford Counsel:

My apologies – see revised version of the proposed s pula on regarding documents used in the two Hill trials. I
changed one word – “admi ed” to “tendered.” (“Tendered” was what I had in mind.) Note the proposed s pula on
states “ subject however to Ford’s right to object to the admissibility of any such document in this Mills case. “

This s pula on should great streamline and simplify things for both sides, and save a LOT of me and eﬀort for all
par es.

Jim Butler

From: Jim Butler
Sent: Saturday, July 15, 2023 4:16 PM
To: 'Philip A. Henderson' <phenderson@watsonspence.com>; Ramsey Prather <ramsey@butlerprather.com>;
'Harold.melton@troutman.com' <Harold.melton@troutman.com>; 'Charles.peeler@troutman.com'
<Charles.peeler@troutman.com>; 'Michael R. Boorman' <mboorman@watsonspence.com>
Cc: Dan Philyaw <dan@butlerprather.com>; Allison Bailey <allison@butlerprather.com>; Kim McCallister
<kim@butlerprather.com>; Beth Glen <beth@butlerprather.com>; Sarah Andrews <sarah@butlerprather.com>;
'Wright, Elizabeth' <elizabeth.wright@thompsonhine.com>; 'Michelle L. H. Miller' <mmiller@watsonspence.com>
Subject: RE: Mills v. Ford - Conference Under FRCP 16 and 26

Ford Counsel:

A ached is another proposed S pula on. Kindly let us know if Ford agrees to it.

Thank you.

Jim Butler



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From: Jim Butler
Sent: Saturday, July 15, 2023 11:50 AM
To: 'Philip A. Henderson' <phenderson@watsonspence.com>; Ramsey Prather <ramsey@butlerprather.com>;
'Harold.melton@troutman.com' <Harold.melton@troutman.com>; 'Charles.peeler@troutman.com'
<Charles.peeler@troutman.com>; 'Michael R. Boorman' <mboorman@watsonspence.com>
Cc: Dan Philyaw <dan@butlerprather.com>; Allison Bailey <allison@butlerprather.com>; Kim McCallister
<kim@butlerprather.com>; Beth Glen <beth@butlerprather.com>; Sarah Andrews <sarah@butlerprather.com>;
'Wright, Elizabeth' <elizabeth.wright@thompsonhine.com>; 'Michelle L. H. Miller' <mmiller@watsonspence.com>
Subject: RE: Mills v. Ford - Conference Under FRCP 16 and 26

Ford Counsel:

Please see the a ached proposed S pula on, and let us know if Ford agrees to it.

Thank you.

Jim Butler

From: Jim Butler
Sent: Wednesday, July 12, 2023 4:32 PM
To: 'Philip A. Henderson' <phenderson@watsonspence.com>; Ramsey Prather <ramsey@butlerprather.com>;
Harold.melton@troutman.com; Charles.peeler@troutman.com; Michael R. Boorman <mboorman@watsonspence.com>
Cc: Dan Philyaw <dan@butlerprather.com>; Allison Bailey <allison@butlerprather.com>; Kim McCallister
<kim@butlerprather.com>; Beth Glen <beth@butlerprather.com>; Sarah Andrews <sarah@butlerprather.com>;
'Wright, Elizabeth' <elizabeth.wright@thompsonhine.com>; Michelle L. H. Miller <mmiller@watsonspence.com>
Subject: RE: Mills v. Ford - Conference Under FRCP 16 and 26

Mr. Henderson:

A ached is Plain ﬀs’ dra Joint Report & Proposed Scheduling Order. We followed the format of the most recent
Scheduling Order entered by Judge Land in one of our cases, also a ached.

We have endeavored to insert therein the things Ford put in its proposal, but if we missed any or erred, please send us a
redline of the a ached.

Jim Butler




From: Philip A. Henderson <phenderson@watsonspence.com>
Sent: Tuesday, July 11, 2023 1:19 PM
To: Ramsey Prather <ramsey@butlerprather.com>; Harold.melton@troutman.com; Charles.peeler@troutman.com;
Michael R. Boorman <mboorman@watsonspence.com>
Cc: Jim Butler <jim@butlerprather.com>; Dan Philyaw <dan@butlerprather.com>; Allison Bailey
<allison@butlerprather.com>; Kim McCallister <kim@butlerprather.com>; Beth Glen <beth@butlerprather.com>; Sarah
Andrews <sarah@butlerprather.com>; 'Wright, Elizabeth' <elizabeth.wright@thompsonhine.com>; Michelle L. H. Miller
<mmiller@watsonspence.com>
Subject: RE: Mills v. Ford - Conference Under FRCP 16 and 26

Ramsey,


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Ford is available on July 18 between 1:30 - 5:00 PM for the Rule 26(f) Conference. Ford is also available between 9:00 -
11:30 AM and 1:30 - 5:00 PM on July 20. Please let us know the date and me you prefer within those windows and we
can send out a Zoom invite.

In prepara on for the upcoming Conference, we went ahead and put together a proposed dra of the Joint Proposed
Scheduling Order and Discovery Plan, as directed in the Court’s Rules 16 and 26 Order. See a ached dra for your
review, which we can discuss during the Conference.

We are also working on a proposed Protec ve Order to govern the produc on of conﬁden al documents in this case.
We will send that over for your review, as well, in the coming days.

Regards,
Philip




PHILIP A. HENDERSON
999 Peachtree Street, N.E.
Suite 1130
Atlanta, Georgia 30309
Main: 229-436-1545

From: Philip A. Henderson
Sent: Monday, July 10, 2023 8:21 AM
To: Ramsey Prather <ramsey@butlerprather.com>; Harold.melton@troutman.com; Charles.peeler@troutman.com;
Michael R. Boorman <mboorman@watsonspence.com>
Cc: Jim Butler <jim@butlerprather.com>; Dan Philyaw <dan@butlerprather.com>; Allison Bailey
<allison@butlerprather.com>; Kim McCallister <kim@butlerprather.com>; Beth Glen <beth@butlerprather.com>; Sarah
Andrews <sarah@butlerprather.com>; 'Wright, Elizabeth' <elizabeth.wright@thompsonhine.com>; Michelle L. H. Miller
<mmiller@watsonspence.com>
Subject: RE: Mills v. Ford - Conference Under FRCP 16 and 26

Ramsey,

Thank you for reaching re: the Rule 26(f) Conference. Counsel for Ford are s ll conferring about your proposed dates,
but at this me it looks like we are not available on July 14 or the morning of July 18. We will get back with you shortly
about our preference between July 20 or the a ernoon of July 18.

Of note, please make sure to include Elizabeth Wright on all email correspondence in this case – her pro hac vice
admission was granted on June 28 and she is also counsel of record for Ford.

Please also include my ﬁrm’s paralegal, Michelle Miller.

Thank you.

-Philip




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PHILIP A. HENDERSON
999 Peachtree Street, N.E.
Suite 1130
Atlanta, Georgia 30309
Main: 229-436-1545

From: Ramsey Prather <ramsey@butlerprather.com>
Sent: Thursday, July 6, 2023 6:06 PM
To: Harold.melton@troutman.com; Charles.peeler@troutman.com; Michael R. Boorman
<mboorman@watsonspence.com>; Philip A. Henderson <phenderson@watsonspence.com>
Cc: Jim Butler <jim@butlerprather.com>; Dan Philyaw <dan@butlerprather.com>; Allison Bailey
<allison@butlerprather.com>; Kim McCallister <kim@butlerprather.com>; Beth Glen <beth@butlerprather.com>; Sarah
Andrews <sarah@butlerprather.com>
Subject: Mills v. Ford - Conference Under FRCP 16 and 26

Defense Counsel:

Pursuant to Judge Land’s Rule 16 and 26 Order, we are required to confer about a discovery plan no later than July 21,
2023. Plain ﬀs’ counsel are available on July 14, 18, and 20. Please let us know which of those dates is preferable. If
you have a preferred me on that date, please let us know that as well.

Thanks.

Ramsey Prather


Ramsey B. Prather
Butler Prather LLP
(404) 321-1700
www.butlerprather.com

Columbus Office
P.O. Box 2766
Columbus, GA 31902

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12 Lenox Pointe
Atlanta, GA 30324

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7 East Congress Street
Suite 400
Savannah, GA 31401




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precautions to minimize the risk of transmitting computer viruses, but you should scan attachments for viruses and
other malicious threats; we are not liable for any loss or damage caused by viruses.




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                 Exhibit 3
                                                                                 E-FILED IN OFFICE - MB
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                                                                    150CLERK OF STATE COURT
                                                                           GWINNETT COUNTY, GEORGIA
                                                                                    16-C-04179-S2
                                                                               10/5/2022 10:12 AM
                                                                               TIANA P. GARNER, CLERK

                   STATE COURT OF GWINNETT COUNTY
                           STATE OF GEORGIA

KIM HILL and ADAM HILL, surviving children *
and Co-Administrators of the Estates of Melvin *
Hill and Voncile Hill, Deceased,               *
                                               *
            Plaintiffs,                        *
                                               *           CIVIL ACTION
       v.                                      *
                                               *           FILE NO. 16 C 04179-2
FORD MOTOR COMPANY,                            *
THE PEP BOYS- MANNY, MOE & JACK (Inc.), *
CURTIS CLINTON THOMPSON, JR., WILLIE *
BRASWELL, and DONALD TAYLOR,                   *
                                               *
       Defendants.

                      MOTION TO MODIFY
            PROTECTIVE ORDER ENTERED MARCH 20, 2017

      Plaintiffs respectfully move this Court to modify the Protective Order

entered on March 20, 2017. 1 There are several reasons for this, among them: (1)

matters discussed in open court accessible to the public should not be off-limits to

the public – particularly when those matters were broadcast by Courtroom View

Network (CVN); (2) there have been press inquiries for documents; (3) Plaintiffs’

counsel are sensitive to being accused by Ford of “violating” the Protective Order;


1
  Plaintiffs requested Ford’s consent to this motion by letter and email. See Exhibit
A, 09/30/2022 Ltr. from Plaintiffs’ Counsel to Ford Counsel; see also Exhibit B,
10/3/2022 1:14 P.M. Email from Plaintiffs’ Counsel to Ford Counsel. Ford has
stated only that it will “get back with you soon.” See Exhibit C, 10/4/2022 3:41
P.M. Email from Ford Counsel to Plaintiffs’ Counsel.
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and (4) Ford labeled an enormous number of documents as “confidential,” most of

which were not entitled to such treatment.

      The Protective Order indicates that supposedly “confidential” documents,

and testimony relating to supposedly “confidential” documents, will remain subject

to the terms of the Protective Order even though presented in public at a public

trial. 2 First, that makes no sense at all, and is contrary to the public interest in open

courts. Second, Ford has failed to do that which is required to lock out the public.

Ford has not objected to the public disclosure and distribution of such documents

and testimony admitted in the public trial, meaning there is no longer any reason

for the Court to protect such information. Third, Ford has publicly challenged the

legitimacy of the jury’s verdict, making public disclosure of the documents and

testimony admitted at trial critical to protect the integrity of the verdict and our

State’s judicial system.




2
  Plaintiffs agreed to that back in 2017 merely to avoid another litigious fight with
Ford. This case was then, as now, afflicted by incessant and long filings by Ford.
That agreement by Plaintiffs’ counsel was unfortunate and will not be repeated in
future cases with anyone. Obviously, an exhibit and testimony shown in public in
a public courtroom and broadcast to the public on Courtroom View Network
cannot be considered ‘confidential’ any longer – even if same ever was entitled to
‘confidentiality,’ and the vast majority of exhibits Ford so labeled were not
remotely entitled to ‘confidential’ treatment. Plaintiffs should have fought a battle
about that, but as stated, this case was afflicted by too many ‘battles’ forced by
Ford’s litigiousness.
                                            2
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      On July 28, 2022, the Court notified the parties that CVN had requested an

order in accordance with Georgia Uniform State Court Rule 22 “to be allowed to

record and televise the trial.” See Exhibit D, 07/28/2022 Emails Between Court

and All Counsel. Ford responded that it had “no objection” to such an order. Id.

      On July 29, 2022, the Court issued an Order permitting CVN to “install

equipment in the courtroom . . . in order to record and stream images and sound,

from opening statements forward, of the proceedings” during the second trial. See

Exhibit E, 07/29/2022 Order Approving Request to Install Recording, and/or

Photographic Equipment Pursuant to the Rules and Guidelines for Electronic and

Photographic News Coverage of Judicial Proceedings. A letter from CVN to the

Court, which was attached to the Order, clearly explains that CVN provides

unlimited access to its materials to 50 law schools; that CVN provides video clips

and updates of trials to the public for free; that CVN provides on demand coverage

of court proceedings; and, that CVN makes video available to other news

organizations around the world, including the New York Times, Wall Street

Journal, Bloomberg, Reuters, Law360, the Associated Press, and others. Id. at 4.

Ford did not subsequently object to the Court’s Order.

      Starting on August 3, 2022, CVN streamed video of the trial to viewers

anywhere in the world on its website and CVN has kept the video recordings there

so that they may be re-watched. See Hill v. Ford Motor Co., Courtroom View


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Network, https://cvn.com/proceedings/hill-v-ford-motor-co-trial-2022-08-01. The

footage captured images of documents that were prior to such public disclosure

ostensibly subject to the Protective Order and testimony relating to those

documents. Interested persons may purchase DVDs of the trial. Ford has not

requested that the trial footage be edited in any way or requested any other relief. 3

      Ford’s decisions and actions have demonstrated a complete disinterest in

keeping documents and testimony from the public trial subject to the Protective

Order. Ford failed to object to the Court’s Order permitting CVN to film the

second trial. Ford also had notice, knowledge, and ample opportunities to object to

CVN’s public disclosure of protected documents and testimony admitted during

the second trial. It failed to do so. Further, Ford has failed to request that the Court




3
  This Court also previously issued an Order permitting CVN to live stream and
record the proceedings in the first trial, which took place in March and April 2018.
See Exhibit G, 03/14/2018 Order. The Order provided that “[t]he Court retains
jurisdiction to order the edit of the video” and “[t]he parties or any juror can
request such action by the Court to the extent they would like relief.” Id. at 1.
The footage taken at the first trial was saved to CVN’s video archives and has been
accessible to subscribers for more than four years. See Hill v. Ford Motor Co.,
CVN, https://cvn.com/proceedings/hill-vford-motor-co-trial-2018-03-19. The
footage captured testimony regarding documents Ford caused to be subject to the
Protective Order. For example, the CVN footage includes testimony from Ford
engineer Jason Balzer where he is asked questions about and passages are read
directly from PX 133, which was marked “Subject to Sharing Protective Order”
and “Ford Secret.” That testimony is still available for viewing on CVN to this
day. Ford has never asked the Court to order that the trial footage be edited.

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do anything to edit the CVN videos of the second trial. There has been a complete

waiver by Ford.

       The Court’s Protective Order should be modified in light of Ford’s waiver

and Ford’s demonstrated disinterest in protecting such information from

disclosure.

       The Court’s Protective Order provides that documents or information

“designated as ‘Subject to Non-Sharing Protective Order,’ ‘Subject to Protective

Order,’ ‘Confidential,’ or substantially similar language . . . shall only be used,

shown or disclosed” to certain persons. See Exhibit F, Protective Order ¶ 3. Such

persons include counsel of record for the parties; staff employed by counsel;

experts and consultants; the Court, Court staff, witnesses, and the jury; and,

attorneys and consultants involved in certain other cases pending against Ford

involving 1999-2007 Ford Super Duty trucks. Id. at ¶ 8. Protected documents also

cannot be posted “on any website or internet accessible document repository.” Id.

at ¶ 11.

       Documents which were used as exhibits at depositions and trial remain

under the sphere of the current Protective Order.

       To the extent that Protected Documents or information obtained
       therefrom are used in the taking of depositions and/or used as exhibits
       at trial, such documents or information shall remain subject to the
       provisions of this Order, along with the transcript pages of the
       deposition testimony and/or trial testimony dealing with, referring to or
       referencing the Protected Documents or information.
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Id. at ¶ 12.

       The circumstances now require that the Protective Order be modified. Ford’s

failure to make any reasonable effort to prohibit disclosure of its supposedly

confidential information presented at trial means that the provision of the

Protective Order keeping trial exhibits and testimony subject to its terms is no

longer necessary. But most importantly, modification of the Protective Order is

now needed to protect the integrity of the jury’s verdict and comport with

Georgia’s policy goal of promoting better access to and understanding of its courts.

       First, Ford has failed to assert protection over documents and testimony

which it claimed were “confidential” but which have been used in a public trial in a

public courtroom and also have been broadcast to the public. Ford obviously knew

that the testimony and documents admitted into evidence at the second trial would

be made available to the public. Ford was notified prior to the second trial that

CVN would be filming. In fact, Ford’s corporate representative and its counsel

had to walk past the CVN cameraman every single day of the second trial to get to

counsel’s table.

       Georgia statutory law provided Ford with the ability to object to the Court’s

Order permitting the filming of the trial, and the Court even asked Ford whether it

objected to such an order. O.C.G.A. § 15-1-10.1(c) (“The court may hear from the

parties, witnesses, or other interested persons and from the person or entity
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requesting coverage during the court’s consideration” of whether to grant a request

to televise or videotape judicial proceedings.). Ford stated that it had “no

objection” prior to the trial and did not object at the start of the proceedings. See

Exhibit D. Under the Uniform Superior Court Rules, Ford waived its ability to

object to the recording of the proceedings. See Ga. Unif. Sup. Ct. R. 22(F)(4) (“A

properly notified party . . . waives an objection to a request for recording of a

proceeding if the party . . . does not object to the request in writing or on the record

before or at the start of the proceeding.”).

       Ford has since failed to take any reasonable efforts to protect or limit the

public disclosure of the exhibits used at trial or even try to maintain their

confidentiality. Ford’s inaction, particularly considering the public interest in this

case, demonstrates that there is no longer reason to prevent disclosure of the

documents. See Drexel Heritage Furnishings, Inc. v. Furniture USA, Inc., 200

F.R.D. 255, 260 (M.D.N.C. 2001) (A defendant cannot simply “sit[] back doing

nothing.” “[I]n order to obtain a protective order with respect to confidential

commercial information, a party still must show reasonable efforts and

expectations under the circumstances as to maintaining the secrecy of the

information.”). Nearly two months have passed since Ford’s supposedly

confidential documents and testimony started being broadcast to the public during




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the second trial. It cannot be said that Ford has acted quickly to protect such

information.

      Second, it is inconsistent with Georgia law and policy to continue to keep

documents that were publicly admitted into evidence subject to such a Protective

Order. “Open courtrooms are an indispensable element of an effective and

respected judicial system. It is the policy of Georgia’s courts to promote access

to and understanding of court proceedings not only by the participants in

them but also by the general public and by news media who will report on the

proceedings to the public.” Ga. Unif. Sup. Ct. Rule 22(A). Modification of the

Protective Order to permit access to testimony and documents admitted into

evidence at trial – by the public and the press - would support Georgia’s goal of

creating a better understanding of our legal system.

      The public and the press are interested in and actively seeking information

about this case. Since the jury reached its verdict, there has been substantial public

attention from news media all over the world. Numerous articles have been written

about the trial in the preceding weeks. In fact, Plaintiffs’ motion—as they notified

Ford—is prompted by requests they have received from worldwide news outlets,

such as the Wall Street Journal, for additional information. Making the evidence

and testimony presented at trial available to the public aligns with Georgia’s policy




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goal of allowing individuals, and the news media who report the information to

them, to have a complete and accurate understanding of the trial.

      The Court must also modify the Protective Order because it is now a

necessary step to prevent Ford from eroding public trust in the jury’s verdict. Ford

has publicly claimed to news outlets that the jury verdict is not supported by the

evidence. 4 Ford’s statements have made it imperative that the Court permit access

to the documents admitted into evidence at trial so that the public may properly

understand why the jury decided to impose meaningful punitive damages and so

that the public can know what the jury understood - the risks to life and limb

posed by the many similar vehicles Ford sold that are still on the road.




4
 See, e.g., Jury imposes $1.7 billion verdict, largest in state history, against Ford,
The Atlanta Journal-Constitution, https://www.ajc.com/news/jury-imposes-17-
billion-verdict-largest-in-state-history-against-
ford/E3C6WROKCFEOFCECTIO3VY7BDA/ (August 22, 2022) (“’While our
sympathies go out to the Hill family, we do not believe the verdict is supported by
the evidence,’ Ford said in a statement.”); Georgia jury awards $1.7 billion in
Ford truck crash case, Los Angeles Times, https://www.latimes.com/world-
nation/story/2022-08-21/georgia-jury-awards-1-7-billion-in-ford-truck-crash-case
(August 21, 2022) (“‘While our sympathies go out to the Hill family, we do not
believe the verdict is supported by the evidence, and we plan to appeal,’ Ford said
in a statement to the Associated Press.” ); Georgia jury awards $1.7 billion in Ford
F-250 truck crash, CBS News, https://www.cbsnews.com/news/ford-f250-truck-
crash-1-7-billion-jury-award-melvin-hill-voncile-hill/ (August 22, 2022) (“‘While
our sympathies go out to the Hill family, we do not believe the verdict is supported
by the evidence, and we plan to appeal,’ Ford said in a statement to The Associated
Press on Sunday.”).
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      Third, as a practical matter, little can now be done to prevent public

distribution of documents and testimony which Ford claims are confidential. The

trial was open to the public and press. CVN has been showing testimony admitted

at the first trial online for more than four years and documents and testimony

admitted at the second trial for two months. That amount of time, combined with

significant media attention and investigation, means the information is already

‘out’ in the public domain. Any insistence by Ford upon trying to hide publicly

admitted evidence on account of the 2017 Protective Order is silly.

      Fourth, and finally, Plaintiffs should not be forced to withstand accusations

by Ford that Plaintiffs have violated the Protective Order, and allowed persons

outside the scope of the Protective Order to see confidential documents, simply by

trying their case in open court. Plaintiffs simply put up the evidence necessary to

prove their case. It was Ford’s responsibility and burden to object to further public

presentation of those documents, if Ford chose to do so. It did not so choose. As

this Court has seen time and time again, this is a real risk: given any opportunity

to divert attention from its own conduct by making accusations against Plaintiffs

and Plaintiffs’ counsel, Ford will seize that opportunity.

      In light of these developments, Plaintiffs request the Court modify the

Protective Order, specifically Paragraph Twelve, which requires that the

documents and testimony used as exhibits at trial shall remain subject to the terms


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of the Protective Order. This Court should order that documents and testimony

admitted at trial, and the video deposition testimony of any witness who testified at

trial, shall no longer be subject to the terms of the Protective Order.

      Plaintiffs pray that this Court enter the requested proposed order attached

hereto.


      Respectfully submitted this 5th day of October, 2022.

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                            CERTIFICATE OF SERVICE

      I certify on this 5th day of October, 2022, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to the following parties by

operation of the Court’s filing system. Parties may access this filing through the

Court’s notice of filing.

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      This 5th day of October, 2022.

                                        BUTLER PRATHER LLP


                                        BY: /s/ James E. Butler, Jr.
                                              James E. Butler, Jr.
                                              Georgia Bar No. 099625




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                                                                     150CLERK OF STATE COURT
                                                                                       GWINNETT COUNTY, GEORGIA
                                                                                                  16-C-04179-S2
                                                                                              11/7/2022 1:46 PM
                                                                                            TIANA P. GARNER, CLERK

                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

 KIM HILL and ADAM HILL, surviving    :
 children and Co-Administrators of the:
 Estates of Melvin Hill and Voncile Hill,
                                      :
 deceased,                            :
                                      :
      Plaintiffs,                     :
                                      :       CIVIL ACTION FILE NO.:
v.                                    :             16 C 04179-2
                                      :
FORD MOTOR COMPANY, THE PEP           :
BOYS-MANNY, MOE & JACK (Inc.),        :
CURTIS CLINTON THOMPSON, JR.,         :
WILLIE BRASWELL, and DONALD           :
TAYLOR,                               :
                                      :
      Defendants.                     :
_____________________________________________________________________________

   FORD'S RESPONSE IN OPPOSITION TO PLAINTIFFS' MOTION TO MODIFY
               PROTECTIVE ORDER ENTERED MARCH 20, 2017
_____________________________________________________________________________

       Ford Motor Company (“Ford”) files this, its Response in Opposition to Plaintiffs’ Motion

to Modify Protective Order Entered March 20, 2017, and hereby states as follows:

                                       INTRODUCTION

       Plaintiffs’ Motion attempts to usurp one of the few agreements that the parties in this

litigation were able to reach. In fact, Plaintiffs and Ford agreed to this Protective Order with

identical terms, not once, but twice – once in Cobb County, and then again when the case was

refiled in Gwinnett. Now, following trial, Plaintiffs seek to have this Court modify the Stipulated

Protective Order entered years ago, to allow wholly unfettered sharing of documents covered by

the Stipulated Protective Order. Plaintiffs’ Motion should be denied for several reasons.

       First, the Stipulated Protective Order expressly provides that the documents covered by

this Protective Order are to remain subject to the terms of the Protective Order following the
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litigation.

        Second, the Stipulated Protective Order expressly provides that documents produced as

confidential under the Protected Order that are used at trial shall be sealed and remain confidential.

Thus, the use of documents as trial cannot be deemed a waiver of confidentiality.

        Third, the public’s right to access court records is not unlimited, and it can be restricted

where a party shows good cause and compelling interest to shield documents from public

disclosure. The competitive harm to Ford that will be caused by Plaintiffs’ proposed modification,

which would allow any person anywhere to become a custodian of Ford’s confidential documents

and eviscerate Ford’s control or use of its documents, constitutes good cause that overrides any

interest the public may have to access Ford’s confidential documents.

        Fourth, Courtroom View Network’s (“CVN”) broadcast of the trial did not automatically

put these documents into the public forum.

        Lastly, Plaintiffs seek to disclose deposition testimony that was never used at trial.

        Background and Procedural History

        A.     The Parties’ Stipulated Protective Order

        The genesis of the case is a single-vehicle rollover accident that occurred on April 3, 2014.

Both occupants, Melvin and Voncile Hill, perished in that accident. Seven months later (October,

2014), their surviving adult children filed a wrongful death lawsuit in Cobb County blaming Ford,

Cooper Tire and Rubber Company, and The Pep Boys-Manny, Moe & Jack (Inc.) for causing the

deaths of their parents. In that case, the Court entered a Stipulated Protective Order governing use

of Ford’s documents on September 14, 2015 that was agreed to by Plaintiffs and Ford. See Exhibit

A. In July 2016, the Hills abruptly dismissed that lawsuit and filed this lawsuit in Gwinnett County.

Almost a year later and over a year and a half following entry of the original protective order in
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Cobb County, Plaintiffs and Ford again agreed to and entered the protective order at issue with an

identical Paragraph 12 on March 20, 2017. See Exhibit B.

       The Stipulated Protective Order at issue contains provisions relating to use of documents

at trial and subsequent treatment of documents. The at-issue Paragraph 12 states that:

               To the extent that Protected Documents or information obtained therefrom
               are used in the taking of depositions and/or used as exhibits at trial, such
               documents or information shall remain subject to the provisions of this
               Order, along with the transcript pagers of the deposition testimony and/or
               trial testimony dealing with, referring to or referencing the Protected
               Documents or information.

       While not at issue in this Motion on its face, the Stipulated Protective Order also

importantly provides a mechanism for challenging the confidential designation of any protected

documents that Plaintiffs are attempting to usurp by filing this Motion. Paragraph 4 provides:

               If a party disagrees with the “Protected” designation of any document, the
               party will so notify Ford in a written letter, within 60 days of receipt of the
               confidential documents and information, identifying the challenged
               document(s) with specificity, including Bates-number(s) where available.
               If the parties are unable to resolve the issue of confidentiality regarding the
               challenged document(s), Ford will thereafter timely apply to the court to set
               a hearing for the purpose of establishing that the challenged document(s)
               is/are confidential. Any document so marked as “Protected” will continue
               to be treated as such pending determination by the Court as to its
               confidential status.

       Rather than follow the agreed-upon provisions of Paragraph 4 of the Protective Order

which provide the proper procedure to challenge a confidential designation, Plaintiffs instead seek

to modify the protective order. In their attempt to “meet and confer” with Ford, Plaintiffs sent

Ford’s counsel correspondence on October 3 seeking free sharing of any exhibit used at trial on

the basis that the documents were used at trial. In particular, Plaintiffs wanted to share documents

with the Wall Street Journal. See Exhibit C. Ford’s counsel responded on October 4 that it would
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consult with Ford on the issue. See Exhibit D. The very next day, Plaintiffs filed the Motion to

Modify the Protective Order before Ford even had a chance to review the at-issue documents.1

       B.       The Confidential Documents Used at Trial

       Certain documents that were produced subject to the Stipulated Protective Order in this

case were admitted into evidence at trial. As stated supra, the Stipulated Protective Order

contained a provision that required those documents to be treated as confidential throughout and

following the litigation. See Exhibit B. These documents include various presentations and

engineering documents that contain commercially sensitive business information or personally

identifiable information, including:

               Plaintiffs’ Exhibit 114 - 2006 Annual Engineering Technical Excellence TMM
                Awards Entry

               Plaintiffs’ Exhibit 133 - HFTA Nomination Committee Enhanced Roof Strength
                Structure Memo

               Plaintiffs’ Exhibit 133A - HFTA Nomination Committee Enhanced Roof Strength
                Structure Memo Mike Leigh Edits

               Plaintiffs’ Exhibit 135 - 2005 Annual Engineering Technical TMM Awards Entry

               Plaintiffs’ Exhibit 138 - 2007 Ford Technology Award Program Individual
                Personal History ‐ Joseph C. Weishaar

               Plaintiffs’ Exhibit 154 - August 2002 U251 Roof Crush Design Review

               Plaintiffs’ Exhibit 236 - September 2005 NA Fleet Roof Strength Assessment &
                FMVSS 216 NPRM Presentation

               Plaintiffs’ Exhibit 643 - Competitive Roof Crush Performance: Volvo Body
                Structure




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  Ford has learned that the Wall Street Journal is in possession of at least some of the documents
identified in Plaintiffs’ correspondence. Ford asked Mr. Butler whether he provided the documents
to the Wall Street Journal, but he refused to respond.
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       C.      Plaintiffs’ Proposed Modification and its Ramifications

       Plaintiffs’ Motion accuses Ford of over-designation and waiver of confidentiality over any

confidential document used at trial. It also seeks to allow for deposition testimony of any witness

who testified at trial to be shared. There is simply no justification for either of these outcomes.

Plaintiffs accuse Ford of “over-designating,” however, the grand sum of documents used at trial

that Ford is seeking to protect subject to the terms of the Stipulated Protective Order amounts to

eight documents out of dozens of trial exhibits. Moreover, there is simply no reason that testimony

relating to matters not addressed at trial or deposition testimony of witnesses who testified at trial

should be shared as they are not part of the public record, and to the extent deposition testimony

was not marked as confidential, the testimony would not be at issue in this Motion.

       Plaintiffs seek to have this Court essentially strike Paragraph 12 of the Stipulated Protective

Order. Modifying Paragraph 12 would eviscerate Ford’s protections over the above-referenced

documents that Ford designated as confidential. These documents relate to Ford’s advanced

research into proposed changes to Federal Motor Vehicle Safety Standard (“FMVSS”) 216 and

vehicle specific roof design documents that contain competitive benchmarking, confidential

design information, including design iterations, material usage, material gauges, characteristics of

body structure design beyond test performance (noise, vibration, and harshness characteristics,

aesthetic design and its relationship to driver visibility, etc.), supplier information, and business

information, such as projected cost savings, potential profit, and staffing considerations. This sort

of information is critical to Ford’s business.

       In essence, Plaintiffs are not seeking to modify the protective order – Plaintiffs are seeking

to have this Court determine that Ford’s documents are no longer confidential because they were
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used at trial under the guise of a modification to the protective order in a direct effort to circumvent

Paragraph 4 of the protective order governing challenges to confidentiality.

II.       Argument

          A.     The Order Agreed to By the Parties and Entered By the Court Requires that
                 Ford’s Confidential Documents Remain Confidential.

          Plaintiffs’ primary argument is that because Ford used certain documents at trial, they

should no longer be subject to the Protective Order. Plaintiffs’ position contradicts the express

language of the Stipulated Protective Order. Paragraph 12 of the Stipulated Protective Order

states:

                 To the extent that Protected Documents or information obtained therefrom
                 are used in the taking of depositions and/or used as exhibits at trial, such
                 documents or information shall remain subject to the provisions of this
                 Order, along with the transcript pagers of the deposition testimony and/or
                 trial testimony dealing with, referring to or referencing the Protected
                 Documents or information.

See Exhibit B.

          Thus, the Court has already ordered that the documents used as exhibits at trial are to

remain subject to the provisions of the Order. There was no additional step for Ford to take – the

documents remain subject to the Protective Order even after their use at trial.

          Plaintiffs assert that because Ford did not object to public disclosure or use of documents

at trial the confidentiality status has been waived. That argument is nonsensical and directly

contradicts the plain language of the Order. Under the Court’s Order, which was agreed to by the

parties, there was no obligation to do so. Ford cannot be punished for not taking affirmative actions

to protect the confidentiality of documents at trial when the Court already ordered that such

documents shall remain confidential. Plaintiffs’ argument that Ford has “waived” its right to

confidentiality is fundamentally flawed, particularly because “the concept of waiver presupposes
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the intentional or voluntary relinquishment of a known right.” Rock v. Ready Trucking, 218 Ga.

App. 774, 775 (1995). Ford did not “intentionally” or “voluntarily” waive its right to protection

as the Stipulated Protective Order did not require Ford to take any affirmative steps to maintain

confidentiality.

        Rather than abide by the terms of the Protective Order that they agreed to, Plaintiffs, in a

footnote to their Motion, now claim that they “agreed to that back in 2017 merely to avoid another

litigious fight with Ford.” See Plaintiffs’ Motion at 2. Plaintiffs’ newly-found regrets in entering

into this Protective Order – not once, but twice – are not valid grounds to set the Order aside.

Plaintiffs stipulated to each and every term contained within this Protective Order and cannot now

change the parties’ agreement, which was endorsed by the Court. Ultimately, the Stipulated

Protective Order is binding on the parties and this Court has inherent authority to compel

compliance with it. See O.C.G.A. § 15-1-3 (“Every court has power: …. (3) To compel obedience

to its judgments, orders, and process….”); see also Cook v. Thomas, 175 Ga. App. 836, 837 (1985)

(“Every court has the power to compel obedience to its judgment”); Hulsey v. Hulsey, 212 Ga.

App. 269, 270 (1994) (“the trial court has the duty to control the trial of the case and to ensure a

fair trial to all parties.”) (citation omitted).

        Courts are wary of post hoc modifications to protective orders in light of the strong reliance

interests at stake. Ford produced these documents in discovery pursuant to the Protective

Order. Ford had a reasonable expectation that the documents would remain confidential, and that

the Protective Order would not be modified after the fact, lifting the shield of

confidentiality. Courts have said it is “axiomatic” that “‘[a]mong the goals furthered by protective

orders is reducing conflict over discovery and facilitating the flow of information through

discovery. Where that has happened, changing the ground rules later is to be avoided because
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protective orders that cannot be relied upon will not foster cooperation through discovery.’” Foltz

v. State Farm Mutual Automobile Insurance Co., 331 F.3d 1122, 1137 (9th Cir. 2003) (quoting 8A

Charles Alan Wright et al., Federal Practice & Procedure § 2044.1). If protective orders cannot

be relied upon, the consequence will be a substantial increase in discovery battles, as parties will

resist producing the confidential information in the first place.

       Plaintiffs, throughout this litigation, had no qualms raising issues with Ford’s position on

discovery matters. In fact, Plaintiffs served at least eighteen (18) letters to Ford alleging

deficiencies in Ford’s discovery or disagreeing with Ford’s position on discovery matters. None

of those letters related to the protocols agreed to in Paragraph 12 that specifies that documents

and testimony are to remain subject to the terms of the protective order. Plaintiffs certainly had

no qualms with raising discovery issues with Ford throughout this litigation. Yet not once did they

ever raise an issue with Paragraph 12.         Moreover, Paragraph 21 of the Protective Order

unequivocally states “[t]his Protective Order may not be waived, modified, abandoned or

terminated, in whole or part, except by an instrument in writing signed by the parties.” (emphasis

added). Ford has not signed any such writing agreeing to modify or waive any part of this

Protective Order, and thus, the inquiry should end here.

       B.      Plaintiffs’ Motion Should be Denied Because it is Procedurally Improper and
               Violates the Protective Order

       Although Plaintiffs claim to be seeking a modification of the Protective Order, they are in

fact seeking to challenge the confidentiality status of certain documents. The Protective Order

provides a procedure that must be followed to challenge confidentiality designations. See Exhibit

B at ¶ 4. As mentioned above, Plaintiffs never followed that procedure, but rather sent Ford an e-

mail and filed this Motion the next day. Plaintiffs must follow the proper procedures and the
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Court’s Order if they want to challenge the confidentiality designations of certain documents

produced by Ford. They have not done so. For that reason, Plaintiffs’ Motion should be denied.2

       C.      Ford has Established Good Cause to Preserve the Confidentiality of
               Confidential Exhibits Admitted at Trial

       Plaintiffs agreed to the Stipulated Protective Order. Plaintiffs now wish to circumvent the

Stipulated Protective Order by making an argument that the public has a right to access court

proceedings. Ford recognizes the important First Amendment right to judicial records, however,

the United States Supreme Court has noted that right is not absolute. See Nixon v. Warner

Commc’ns, 435 U.S. 589, 598 (1978) (“It is uncontested, however, that the right to inspect and

copy judicial records is not absolute. Every court has supervisory power over its own records and

files, and access has been denied where court files might have become a vehicle for improper

purposes…courts have refused to permit their files to serve as…sources of business information

that might harm a litigant’s competitive standing.”). Plaintiffs’ argument that the mere fact that

portions of documents were presented in public at open trial somehow voids the confidentiality of

the entire document. But Plaintiffs cite no authority so holding.

       Here, the entire documents were not shown at trial. For example, two of the protected

confidential documents at issue are Plaintiffs’ Exhibits 133 and 133a – the Jason Balzer Memo

and Mike Leigh’s edits to the Jason Balzer Memo. Exhibit 133 is a 20-page document; Exhibit

133a is a 27-page document. Plaintiffs did not present and discuss each and every page of these

two documents in open court at trial. Instead, Plaintiffs chose specific excerpts of specific pages

and blew them up on the television screen in the courtroom. By no means were members of the

public who may have been in the courtroom (or watching on CVN) able to read the entirety, or


2
 Had Plaintiffs followed the procedures in the Stipulated Protective Order, Ford could have taken
any steps that would have been necessary to protect its documents, e.g., filing a motion to maintain
confidentiality.
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even a majority, of the contents of these two documents.       The mere showing of excerpts of a

document in open court should not foreclose Ford from claiming confidentiality over that

document.

       Putting aside the procedural problems with Plaintiffs’ Motion and the fact that under the

Court’s Order Ford was not required to take any affirmative steps at trial to maintain the

confidential status of documents used at trial, the Court has the power to assess whether certain

documents should maintain their confidential status under the Stipulated Protective Order. The

Georgia Supreme Court has held that trial courts may “limit access to court records if the court

finds that ‘the harm otherwise resulting to the privacy of a person in interest clearly outweighs the

public interest.’” Savannah College of Art & Design, Inc. v. School of Visual Arts, Inc., 270 Ga.

791, 792 (1999) (in which the Court reversed a trial court’s ruling that confidential documents

should be open for public inspection and held that the trial court had abused its discretion by

concluding that the moving party’s privacy interest did not outweigh the public’s interest in access

to court records). Moreover, O.C.G.A. § 9-11-26(c)(7) provides that the Court “may make any

order which justice requires to protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense, including…that a trade secret or other confidential

research, development, or commercial information not be disclosed only in a designated way ... .”

       Although Georgia Courts have not set forth specific factors to assess whether confidential

documents introduced in Court proceedings should remain confidential after trial, the type of

information that Ford seeks to maintain as confidential is routinely sealed. See Chemence Med.

Prods. v. Medline Indus., Inc., No. 1:13–CV–500–TWT, 2015 WL 149984, at *3-6 (N.D. Ga.

2015) (granting several motions to seal excerpts and exhibits of depositions where product

specifications and confidential business transactions were discussed); Cognotion, Inc. v. Grace
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Hill, LLC, CV 115-201, 2016 WL 1529904 at *1-2 (S.D. Ga. 2016) (granting motion to seal

Complaint that contained confidential business information).

       It is uncontroverted that the personally identifiable information (home addresses) of Ford

employees represent a legitimate privacy interest of which there is no corresponding public benefit.

Similarly, Ford has a legitimate interest in protecting its confidential business information.

       The documents at issue contain highly proprietary Ford information relating to Ford’s

Enhanced Roof Strength Project, Ford’s evaluation of Notice of Proposed Rulemaking 216, and

Ford documents generally related to roof design. See Exhibit E, Affidavit of Ram Krishnaswami

at ¶ 6. The research, development, and testing contained in the documents are undertaken at great

expense to Ford. Id. at ¶ 7. The automotive industry is a highly competitive industry, and advance

research and methodology regarding the same can confer a distinct competitive advantage to an

automotive manufacturer, translatable into sales and profits. Id.

       These documents remain highly confidential, just as they were when originally designated

as such, as the documents provide insight into several Ford processes, including:

               a.      The process that Ford undertakes to benchmark its vehicles against

competitor vehicles, including how Ford benchmarks design and performance of competitor

vehicles. With this information, competitors could modify or change their own benchmarking

processes. Plaintiffs’ Exhibits 133, 133A, and 643 contain this information.

               b.      Certain factors that Ford views as critical characteristics of body structure

design beyond just test performance and other process enablers that give insight into Ford’s

knowledge, e.g., noise, vibration, and harshness characteristics, aesthetic design and its

relationship to driver visibility, and body durability. With this information, competitors could
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examine their own vehicle traits in a similar manner to Ford or take certain Ford concerns and add

those to their own concerns. Plaintiffs’ Exhibits 114, 133, 133A, and 135 contain this information.

               c.      Insight into iteration of design. With this information, competitors could

reduce the number of iterations that competitor vehicle designs may need, thereby enhancing

efficiency. Plaintiffs’ Exhibits 133, 133A, 154, 236, and 643 contain this information.

               d.      Design specific information. With the design information contained in the

documents, competitors could gain insight into Ford’s body structure assembly execution,

including body joint stiffness, gussets, material gauges, and material uses. Plaintiffs’ Exhibits 114,

133, 133A, 154, 236, and 643 contain this information.

               e.      Supplier information. With this information, a competitor could gain

insight as to how Ford chose the supplier to assist with the Enhanced Roof Strength Project, and

by extension, how Ford benchmarks suppliers. Plaintiffs’ Exhibits 133, 133A, and 154 contain

this information.

               f.      Business information. The documents include information as to cost,

projected cost savings, potential profit, staffing considerations, and insight into how Ford

undertakes projects such as the Enhanced Roof Strength Project. With this information, a

competitor could build efficiencies into their own projects by gaining insight into how Ford

calculates cost and profit information, how Ford spends money on advanced research, and how

Ford allocates resources to projects such as the Enhanced Roof Strength Project. Plaintiffs’

Exhibits 114, 133, 133A, 154, 236, and 643 contain this information.              Affidavit of Ram

Krishnaswami at ¶ 9(a)-(f)

       The cost to Ford can not only be measured in dollar amounts. What also must be considered

is the time and expertise of Ford’s engineers in undertaking these projects. Id. at ¶ 10. If Ford's
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competitors gain access to these materials, they will be able to use such information to their benefit

at the expense of Ford. Id. Disclosure of this research could be used in the design and development

efforts of Ford's competitors without the competitors investing the substantial resources already

invested by Ford. Id. Information relating to the process that Ford evaluates potential design

challenges is the product of continuing and evolving development and research. Id. Such

information discloses the process that Ford utilizes, along with all other aspects of vehicle

planning. Id. This is a confidential process. Id. Thus, the process itself, irrespective of the time

period at issue, is confidential and of significant value to Ford. Id. The capability of a competitor

to improve its own processes and/or avoid the necessity of testing such processes or conducting its

own research results would result in harm to Ford’s competitive position, as well as Ford’s

competitors saving time and money. Id. This benefit to competitors would diminish Ford’s

competitive advantage. Id.

       Ford is careful to prevent disclosure of the proprietary information reflected in these

documents as this information is not generally known outside the company. Id. ¶ 12. Typically,

the only mechanisms by which an outsider could gain access to such documentation are via court

order, agreed protective order, or in the case of a supplier, through a confidentiality provision as

part of a supplier agreement. Id.

       If Ford's competitors were to gain access to the documents described above, they would

unfairly gain a competitive advantage against Ford. Id. at ¶ 13. Such an advantage would consist

of using Ford's work in the development of their own designs and thus to get a product to market

sooner than they would have otherwise and/or to get their product to market at a lower cost, since

they would not have incurred the substantial research, testing, and developmental costs that Ford

had incurred, and since they would have received closely guarded information about Ford's costs
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and timetables for such designs. Id. Alternatively, whether or not a competitor actually utilized

the information in these design and development documents in developing its own products,

possessing information about these materials would give a competitor an advantage in everything

from utilizing the research underlying Ford's design concepts in order to apply such research to

the competitor's own potential design concepts (whether in comparison or contrast), and/or to

undercutting Ford's timetables or costs by working from Ford's information regarding same. Id.

Ford takes great care to protect from disclosure the materials described above, and the work and

documents relating thereto are proprietary to Ford. Id.

       Plaintiffs request to modify the Protective Order would allow anyone to become a

custodian of its documents. Ford takes great care to protect from disclosure the materials described

above, and the work and documents relating thereto are proprietary to Ford. See Exhibit E ¶ 13.

These documents have not been released to the public and much of the information contained

therein is not known outside of Ford’s business. Id. The documents are maintained as confidential

and are available only to specific employees at Ford and the employees who utilize this information

follow rules regarding its use, including password protection at work stations and the protection

of hard copy records/media with appropriate physical security controls. Id. Similarly, when trade

secret and confidential information is to be disseminated to third parties such as joint ventures or

suppliers outside of Ford, such information is subject to a properly executed agreement, like a non-

disclosure agreement, and the decision to grant such access is made at an appropriately high level

by someone within Ford who understands the risks and benefits of granting such access and then

finally approved by Ford’s Office of the General Counsel. Id. Finally, when this information and

these documents are produced in the litigation context, Ford requests that they be produced subject

to a protective order. Id. Moreover, certain of the documents contain personally identifiable
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information, including names, home addresses, and home phone numbers of Ford employees. Id.

at ¶ 14. These include Plaintiffs’ Exhibits 133, 133A, 135, and 138.

       D.      Plaintiffs’ Request that Entire Documents Lose their Confidential Status when
               Entire Documents Were Not Shown In Open Court

       Although entire documents may be entered into evidence, it is clear that entire documents

are not shown in open court at trial. That is what occurred here. Plaintiffs’ Exhibits 133 and 133a

may have been tendered into evidence, but as discussed above, the majority of their contents were

not presented to the public in open court. There is no substantial justification for waiving

confidentiality over a document that is 20+ pages because excerpts from the document were shown

at trial. In fact, after closing arguments while the Parties were tendering exhibits into evidence,

Plaintiffs’ counsel himself raised issue with entire documents being admitted as evidence when

only excerpts were shown.

       E.      CVN Access

       Plaintiffs claim that CVN’s broadcasting of the trial acted as further waiver of the

protections to Ford’s confidential documents afforded in this Court’s Protective Order. But, again,

CVN merely broadcast the same excerpts of documents as were displayed in open court. CVN

was not provided with copies of the confidential documents, and in turn, did not disseminate or

publish those documents for public consumption. Indeed, CVN’s technician that was present at

trial sought permission from Ford to hardwire into Ford’s digital equipment that it used to display

exhibits to the jury, so that CVN could have access to the exhibits and other documents being

shown by Ford – Ford denied this request.

       That an online company live-streamed the trial and subsequently made videos available on

its website does nothing to change the terms of the Protective Order agreed to by Plaintiffs and

entered by the Court. This is especially true where these videos are only available to paying
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customers – they are not available to any member of the general public, only those willing to pay

for a subscription that costs $99 a month (or pay a one-time fee to purchase a DVD or digital

download). Ford did not object to CVN broadcasting the trial online, but that in no way should

translate to Ford waiving the protected status of confidential documents – the two acts are not at

all the same and have far different consequences.

       F.      Violation of Protective Order

       During the time between Plaintiffs’ filing of this Motion and the time for the filing of Ford’s

Response, Ford learned that a third-party media outlet - the Wall Street Journal - is in possession

of several protected documents. Namely, the Wall Street Journal contacted Ford with specific

questions regarding documents that have been marked as confidential and were produced subject

to the terms of the Protective Order in this case. Ford is still investigating but believes this to be

a breach of the Protective Order and will be filing any appropriate motion(s) once that investigation

is complete.

                                       CONCLUSION

       For the foregoing reasons, Ford respectfully requests that this Court deny Plaintiffs’ Motion

to Modify the Protective Order Entered March 20, 2017.

       This 7th day of November, 2022.


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                                 CERTIFICATE OF SERVICE

               I certify on this 7th day of November, 2022, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to the following parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s notice of filing.

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                                                                    150CLERK OF STATE COURT
                                                                           GWINNETT COUNTY, GEORGIA
                                                                                    16-C-04179-S2
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                                                                              TIANA P. GARNER, CLERK

                  STATE COURT OF GWINNETT COUNTY
                         STATE OF GEORGIA

KIM HILL and ADAM HILL, surviving children *
and Co-Administrators of the Estates of Melvin *
Hill and Voncile Hill, Deceased,               *
                                               *
            Plaintiffs,                        *
                                               *           CIVIL ACTION
       v.                                      *
                                               *           FILE NO. 16 C 04179-2
FORD MOTOR COMPANY,                            *
THE PEP BOYS- MANNY, MOE & JACK (Inc.), *
CURTIS CLINTON THOMPSON, JR., WILLIE *
BRASWELL, and DONALD TAYLOR,                   *
                                               *
       Defendants.


   PLAINTIFFS’ RESPONSE TO FORD’S EMERGENCY MOTION TO
    MAINTAIN THE SEALING PROTECTION OF CONFIDENTIAL
                        DOCUMENTS
                                        AND
      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO MODIFY
          PROTECTIVE ORDER ENTERED MARCH 20, 2017


      Come now Plaintiffs and respond to Ford’s “Emergency Motion to Maintain

the Sealing Protection of Confidential Documents.” This filing will also serve as

Plaintiffs’ reply brief in support of Plaintiffs’ Motion to Modify Protective Order

entered March 20, 2017.




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     I.      Introduction

          Obviously there is no ‘emergency’ when the movant asks the Court to put

off briefing on its supposed “emergency motion” for over a month and makes no

effort at all to have that motion heard by the Court.

          Ford’s so-called “emergency motion” was all about getting the Court to pre-

judge Plaintiffs’ motion to modify the protective order - which had been filed over

a month before the “emergency motion.” Since the Court has now, by Rule Nisi,

set Plaintiffs’ motion for hearing on December 19, and since Ford has not

requested a hearing on the “emergency motion” Ford wants to put off even

briefing, Ford’s “emergency motion” is moot. Any supposed issues about the

subject eight Plaintiffs’ exhibits will be decided by the Court after argument on

December 19.

          Ford’s opposition to Plaintiffs’ motion and Ford’s attempt to ‘short-stop’ it

had nothing to do with the question whether the eight Plaintiffs’ exhibits should

now be belatedly ‘sealed’; it’s all about a wounded Ford trying to gin up yet more

accusations against Plaintiffs’ counsel. Ford admits that in its response to

Plaintiffs’ motion. Ford Resp. to Ps’ Motion at 16 1 (“F. Violation of Protective

Order.”) Ford’s litigiousness ought to end, someday.




1
    Ford did not paginate its response, but the statement is on page 16, the last page.
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   II.      There is no “emergency”

         After Plaintiffs filed their motion to modify the protective order on October

5, 2022, Ford filed, on November 11, 2022, an “emergency motion to maintain the

sealing protection of confidential documents.” (Emphasis added.) But the subject

eight Plaintiffs’ exhibits had been used in broadcast public trials, and Ford had

never, in the five years since one of them was first publicly used, ever said one

word about ‘sealing’ them.

         By email dated November 14, 2022 Ford requested that the Court enter an

order proposed by Ford. That was, of course, an obvious and transparent attempt

to get this Court to rule on the subject matter of Plaintiffs’ motion to modify before

Plaintiffs motion was heard by the Court. See Exh. A, compendium of emails with

the Court, November 14-16, 2022.

         In a bit of disturbing misdirection, Ford’s email to the Court called its

motion an “emergency motion to file under seal.” Exh. A, Henderson 11/14/22

email. Ford said the motion so described was “regarding several exhibits

introduced at trial by Plaintiffs.” But, as will be further addressed in section “II”

below, those Plaintiffs’ exhibits had been used in an open, public, and broadcast

trial 4 ½ years ago when used in open court in broadcast trial proceedings, and had

then been again used in an open, public, and broadcast trial in August 2022.

During all of that time up until November 11, 2022 when Ford filed its “emergency

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motion” Ford made no request that any of those eight Plaintiffs’ exhibits be put

“under seal.” Ford’s “emergency motion” admits that the exhibits had been part of

the public record: Ford asked for an order “directing the Clerk of Court to remove

Plaintiffs’ Exhibit Nos. 114, 133, 133A, 135, 138, 154, 236, and 643 from the

public record of this case and file them under seal.” Ford Emerg. Mot. at 6-7.

      When Plaintiffs’ counsel responded to Ford’s email and “emergency

motion” by email to the Court, the supposed ‘emergency’ disappeared – and has

not been heard from since. Plaintiffs’ counsel responded on November 14, and on

November 16 Ford stated that briefing its supposed “emergency motion” could

wait a couple of months, with briefing “after the December 19, 2022 hearing” on

post-trial motions. See Exh. A (Boorman 11/16/22 1122 am email). Then, in a

second email on November 16, Ford asked Ms. Hight to “confirm” that only Ford’s

post trial motions would be heard on December 19. That was the last this Court

heard from Ford about the supposed “emergency.”

      Ford clearly did not want either its “emergency motion” or Plaintiffs’ motion

to modify the protective order to be heard at the already-scheduled hearing set for

December 19. This Court resolved that issue by its Rule Nisi issued November 29,

specifying that Plaintiffs’ motion to modify the protective order would be heard at

the December 19 hearing. Ford has still not asked for a hearing on its supposed

“emergency” motion.

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      The reason Ford went silent is obvious: documents publicly revealed in a

public trial then again publicly revealed in a second public trial, both broadcast by

CVN from whom videos of the entirety of those two trials are available to anyone

at any time (see Exh. B (Hockensmith Aff.) and Exh. C (Andrews Aff.)) cannot

possibly be said to be entitled to “confidentiality” treatment.

      There’s another reason Ford went silent: Ford knows it cannot prove and

has not actually tried to prove that which must be proved to satisfy the onerous

burden of concealing court proceedings and exhibits used therein from the press

and public. Ga. Unif. Sup. Ct. R. 21 is clear:

      “All court records are public and are to be available for public inspection
      unless public access is limited by law or by the procedure set forth below.”
See also Ga. Unif. Sup. Ct. R. 21.2 (“An order limiting access shall not be granted

except upon a finding that the harm otherwise resulting to the privacy of a person

in interest clearly outweighs the public interest.”) 2



2
 Before entering an order to seal a court record, the trial court must hold a hearing
on the issue as required by Uniform Superior Court Rule 21.1. Ruskell, Georgia
Practice & Procedure § 1.20, Sealing court records (October 2022 Update). “A
party seeking to seal court records carries the burden of demonstrating that the
harm otherwise resulting to his or her privacy clearly outweighs the public’s
substantial interest in access to the records.” In re Atlanta Journal-Constitution,
271 Ga. 436, 437-38 (1999) (emphasis added). As a result, Georgia courts are
“obligated to weigh the harm to the party’s privacy interest that will result from not
sealing the records against the harm to the public’s right of access.” Id. at 438. “In
discharging this duty, it is not sufficient for the trial court to forego making
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      “In the State of Georgia, the public and the press have traditionally enjoyed
      a right of access to court records. Public access protects litigants both
      present and future, because justice faces its gravest threat when courts
      dispense it secretly. Our system abhors star chamber proceedings with good
      reason. Like a candle, court records hidden under a bushel make scant
      contribution to their purpose.”
Atlanta J. v. Long, 258 Ga. 410, 411, 369 (1988), opinion corrected, 377 S.E.2d

150 (Ga. 1989).

      That is why Ford has in actuality not even attempted to prove that the

subject Plaintiffs’ exhibits were ever ‘entitled’ to any sort of confidentiality. That

is why Ford refuses to make the affiant upon whom Ford’s posturing about these

Plaintiffs’ exhibits wholly depends, Mr. Krishnaswami, available for deposition,

despite Plaintiffs twice having requested that deposition.

      Ford’s “emergency” motion is just as moot as is Ford’s opposition to

Plaintiffs’ motion and Ford’s belated request that the Court now suddenly “seal”

eight Plaintiffs’ exhibits.




findings of fact and simply state that the public’s interest in access to court records
is clearly outweighed by potential harm to the parties’ privacy . . . Otherwise the
trial court is not justified in closing the record from public scrutiny.” Id.

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    III.   The subject eight Plaintiffs’ exhibits.

       Ford’s “emergency motion” addresses eight Plaintiffs’ exhibits 3 used in two

public trials of this case, both of which trials were broadcast to the public on

Courtroom View Network (CVN), from which videotapes of both trials remain

available to anyone at any time.

       From March 19 through April 6, 2018, those Plaintiffs’ exhibits were

discussed and displayed in open court 50 times. Exh. D, McCallister Aff. ¶4.

From August 1 through August 19, 2022, those Plaintiffs exhibits were discussed

and displayed in open court another 48 times. Id. ¶5. The final verdict in the

second trial was August 19, 2022. At no time after that verdict and prior to

November 11, 2022 – over a month after Plaintiffs filed their motion to modify the

protective order – did Ford make a request to this Court that those Plaintiffs’

exhibits be ‘sealed’ so the public and press could not see them. 4




3
  Ford “emergency motion” at 2, listing Plaintiffs Exhibits 114, 133, 133A, 135,
138, 154, 236, and 643; Ford response to Plaintiffs’ motion at 4 (Ford did not
paginate its response, but the list appears on page 4 of its response).
4
  In addition to use of the Plaintiffs’ exhibits in the 2018 trial and again in the 2022
trial, at least one of those exhibits was used at public hearings held by Judge
Bratton before the first trial – again without complaint by Ford that any documents
should be ‘sealed’ or that public access to the documents should be restricted, and
such exhibits were provided to the Court. See, e.g., 10/30/17 Hg. Tr. at 72, 74, 174
(PX 133). Those hearings commenced October 30, 2017 – over five years ago, and
went on for several days. (What the Court did with those exhibits after the hearing
is unknown to Plaintiffs’ counsel, but Ford did not request that the exhibits be
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      Seven of the eight Plaintiffs’ exhibits, plus one page of the eighth, were in

the Clerk’s office for the past 4 ½ years. Ford made no request then to this Court

that those exhibits be concealed from the public and press. There is no doubt those

Plaintiffs’ exhibits were in the Clerk’s office for the last 4 ½ years: they were part

of the trial court record prepared by the Clerk after Ford filed its “Notice of

Appeal” on August 9, 2018. See Exh. E, “Index” to trial court record. 5 A quick

review of the trial court record compiled by the Clerk shows that the following

exhibits appear on at least the following pages of the Clerk’s trial court record, 6

meaning those exhibits were in the Clerk’s office and were also transmitted to the

Clerk of the Court of Appeals (page references are to the Clerk’s trial court record

compiled and sent to the Court of Appeals Clerk):

      PX 114 – pps. 17217, 26748
      PX 133 – pps. 27057, 27222
      PX 133A (an edited version of PX 133) – p. 27269



sealed or restricted in any way during or after those hearings that commenced
October 30, 2017.)
5
  Plaintiffs’ counsel have not researched exactly when the Clerk prepared the trial
court record, but Exh. E, the “Index,” was received by Plaintiffs’ counsel on
December 18, 2018, as the last page indicates.
6
  Plaintiffs’ counsel did not take the time to study each and every one of the
volumes of the Clerk’s record to find every single discussion of the eight Plaintiffs’
exhibits during the first trial in 2018, since the facts recited herein are sufficient to
establish that the Plaintiffs’ exhibits which Ford now pretends to want ‘sealed’
have been available to the public in the Clerk’s office for 4 ½ years, in addition to
being available to the public from CVN.
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       PX 138 – p. 26660
       PX 154 – pps. 26923, 27268
       PX 236 – p. 27077 7
       On October 5, 2022, Plaintiffs filed their motion to modify the protective

order, to reflect the reality that the subject documents had long ago and repeatedly

been publicly disclosed, rendering the protective order moot, without any objection

by Ford, which amounted to repeated waivers by Ford. Prior to the filing of that

Plaintiffs’ motion Ford had consented to broadcast of the trials in which such

exhibits were used – twice.

       On November 7, 2022, Ford responded to Plaintiffs’ motion to modify the

protective order. Ford argued it had not waived claimed “confidentiality” as to

those eight Plaintiffs’ exhibits. Ford also asserted that “the public’s right to access

court records is not unlimited, and it can be restricted where a party shows good

cause and compelling interest to shield documents from public disclosure.” That is

an argument that is directly contrary to the Rules of this Court:

    “Open courtrooms are an indispensable element of an effective and
    respected judicial system. It is the policy of Georgia’s courts to promote access
    to and understanding of court proceedings not only by the participants in
    them but also by the general public and by news media who will report on the
    proceedings to the public.”

Ga. Unif. Sup. Ct. R. 22(A).


7
  PX 643 was not tendered into evidence during the 2018 trial. PX 218 was
tendered into evidence during the 2018 trial. See Exh. D (McCallister Aff.) ¶4.
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      Moreover Ford has not even attempted to show “good cause” for hiding the

eight Plaintiffs’ exhibits from the public and from the press. Ford’s response to

Plaintiffs’ motion speaks very generally of supposed “competitive harm,” and

“commercially sensitive information,” and “highly proprietary Ford information.”

Ford Resp. to Ps’ Motion at 2, 4, 11. But Ford has not identified a single specific

statement in a single one of the eight Plaintiffs’ exhibits that justifies secreting the

document from the public and the press on such supposed grounds. In its response

to Plaintiffs’ motion, Ford offers only cursory and conclusory statements that a

variety of the exhibits may reveal this or that thing. Ford Resp. to Ps’ Motion at

11-12 (“a”-“f”). Ford also filed an Affidavit of its recidivist testifier Ramnarian

Krishnaswami, 8 whose affidavit ‘testimony’ repeated the words Ford’s lawyers put

in Ford’s response brief. Ford Resp. Exh. B, pp. 3-4 (“a”-“f”). Ford repeated the

same assertions in its own “emergency motion,” (Ford Emerg. Mot. at 3-5) and

attached the same Krishnaswami affidavit.


8
  The Court will recall that Mr. Krishnaswami was Ford’s official Corporate
Representative to the 2018 trial, and his involvement is noted in this Court’s
Sanctions Order. (“Ford's corporate representative sat at counsel's table throughout
trial, was privy to all that took place, and participated in the misconduct by
mentioning seatbelts in his testimony.” 7/19/18 Order at 5.) Mr. Krishnaswami is
the Ford testifier whose 2018 trial testimony was replayed at the 2022 trial,
protesting that the subject roof is “absolutely safe” and “there’s nothing at all
wrong” with it and that the roof on the Hills’ truck “performed as it was designed
to perform in this crash” and that “even with the benefit of hindsight Ford wouldn’t
change anything about the design or strength of the subject pickup truck.” 8/5/22
TT (rough draft) at 54/23-55/12.
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      The reason Ford has elected not to even attempt to make a showing of “good

cause and compelling interest to shield documents from public disclosure” is surely

because there is no basis for such a claim, especially about documents some of

which are now 20 years old. According to Ford’s own listing of the eight

Plaintiffs’ exhibits, the ‘newest’ one, PX 138, dates from 2007 – 15 years ago.

      In addition, the first five of the eight Plaintiffs’ exhibits all relate to the

ERSP Team being awarded the “Henry Ford” prize for technical excellence by

creating the five-times-stronger roof for the Super Duty truck that was cheaper to

build than the bad roof. (PX 114, 133, 133A, 9 135, and 138). That ERSP Team

roof is a design Ford used in the 2015 Ford F150 pickup trucks, and belatedly, in

the 2017 model year Super Duty trucks. There can be nothing in the documents

about the design which ‘competitors’ could not discover by simple reverse

engineering of existing Ford products. Moreover to the extent those documents

discuss the prior iteration of the Super Duty trucks, for model years 1999-2016,

those trucks have been available to competitors for 24 years (since fall, 1998), and

one would hope there’s nothing about the roof in those trucks supposed

‘competitors’ would want to learn from. Finally, all the pertinent parts of those


9
  As the Court will recall, PX 133A is the version of PX 133 as edited by Ford
testifier Michael Leigh, whom Ford put on the witness stand during the 2022 trial.
PX 133 was created by ERSP Team member Jason Balzer, whose testimony was
presented by Plaintiffs. Leigh ‘edited’ it to take out words and references made by
Balzer.
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documents – PX 133 and PX 133A – were discussed publicly in both broadcast

trials during the testimony of Balzer, Leigh, Krishnaswami, Eikey, and probably

Mr. Herbst as well.

      The sixth document about which Ford now belatedly complains, PX 154, is

nothing but a one-page document that states the federal minimum standard for roof

strength – 1.5 SWR; the “Ford standard” – supposedly 1.8 SWR; and the Volvo

standard – 3.5 SWR. The entire contents of that document were repeatedly

expressed in words during broadcasted testimony during both trials; secreting the

document hides nothing from the public and press, making Ford’s “emergency

motion” pointless.

      The seventh document, PX 236, is a three-page document created by Ford

engineer Steven Kozak, whose testimony Plaintiffs presented at both trials by

videotaped deposition, including about that document. The only pertinence of that

September 2005 document is that Kozak, then Ford’s “Chief Global Safety

Engineer,” wrote that the roof strength of the Super Duty Crew Cab (“C/Cab”) was

9,000 – which equates to a SWR of about 1.2. That fact from the document was

recited in the testimony of multiple witnesses at both trials, making Ford’s

“emergency motion” as to that document pointless.

      The eighth document, PX 643, is an undated one-page document about a

model of the Volvo XC 90 that has been out of production for some two decades,

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whose only utility is the Volvo conclusion “no structural collapse allowed.” PX

643 is one page out of a larger document, PX 218. PX 218 is a 19 page

PowerPoint presentation by Jonas Bernquist of Volvo, to an industry conference as

the document shows it was printed by “www.autosteel.org.” That is a website of

the American Iron and Steel Institute. Obviously there was nothing confidential

about that document when Mr. Bernquist made his PowerPoint presentation to

some seminar hosted by the American Iron and Steel Institute. PX 643 was not

used in the 2018 trial. PX 218 was used in the 2018 trial. PX 643 and PX 218

were both used in the 2022 trial, both were tendered, and it is believed both were

admitted into evidence. See Exh. D (McCallister Aff.) at ¶¶3-8.

      In sum, there’s just no ‘there’ there in Ford’s emergency motion, or in its

response and opposition to Plaintiffs’ motion to modify the protective order.

Instead, what Ford’s opposition to Plaintiffs’ motion and Ford’s “emergency

motion” is really about is Ford trying to cook up more accusations against

Plaintiffs’ counsel – which Ford explicitly admits! See Ford Resp. to Ps’ Motion at

16 (last page; Ford’s response was not paginated). This Court should not be drawn

in to such antics by Ford.

                                 CONCLUSION

      Ford’s “emergency” motion should be denied. Plaintiffs’ motion to modify

the protective order should be granted.

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 Respectfully submitted this 12th day of December, 2022.


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                            CERTIFICATE OF SERVICE


      I certify on this 12th day of December, 2022, a copy of the foregoing was

filed electronically. Notice of this filing will be sent to the following parties by

operation of the Court’s filing system. Parties may access this filing through the

Court’s notice of filing.

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      This 12th day of December, 2022.

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                                        BY: /s/ James E. Butler, Jr.
                                               James E. Butler, Jr.
                                               Georgia Bar No. 099625


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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                COLUMBUS DIVISION

 JAMES EDWARD (“Dusty”) BROGDON,                :
 JR., as Executor of the Estate of Debra Sue    :
 Mills, deceased, and JAMES EDWARD              :
 BROGDON, JR., and RONALD BRIAN                 :
 (“Rusty”) BROGDON, Individually and as         :
 surviving children of Debra Sue Mills,         :   Civil Action File No.:
                                                :   4:23-cv-00088-CDL
 And                                            :
                                                :
 JAMES EDWARD BROGDON, JR., as                  :
 Executor of the Estate of Herman Edwin         :
 Mills, deceased, and JASON EDWIN               :
 MILLS, Individually and as surviving child     :
 of Herman Edwin Mills,                         :
                                                :
         Plaintiffs,                            :
                                                :
 v.                                             :
                                                :
 FORD MOTOR COMPANY,                            :
                                                :
         Defendant.                             :


                Exhibit B – Plaintiffs Objections to Ford’s Proposed
       “STIPULATED SHARING AND NON-SHARING PROTECTIVE ORDER”


                   Plaintiffs’ General Objections to Ford’s Proposed Order:

        Ford’s proposed “protective order” suffers from inappropriate provisions that: attempt to

label as “confidential” documents that have already been made public; shift the burden of

persuasion with respect to whether a Ford document may be deemed “confidential;” gives Ford

the power to unilaterally decide which Ford documents may be shared with counsel litigating

similar cases against Ford; ignores this Court’s Rule 16 & 26 Order (Doc. 12); and, subvert the

federal rules of procedure and evidence.


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          Ford’s proposed “protective order” is simply too complex, especially compared to

Plaintiffs’ proposed confidentiality order. Ford’s proposal creates more work for Plaintiffs’

counsel and staff, increases the likelihood for more disputes and the necessity of motions and

required intervention by the Court, and creates more opportunities for Ford to make accusations

against Plaintiffs’ counsel (e.g., claims that a “protective order has been violated).”

          Plaintiffs should explain that they have proposed a confidentiality order mainly because

Ford typically uses supposed “negotiations” over the terms of such an order to delay discovery.

(For example, see 8/2/23 “Joint Report & Proposed Scheduling Order at pp. 23-24.)

          Plaintiffs do not agree with the expansive ambit of Ford’s claims to ‘confidentiality’ of

Ford documents. For example, in this case Ford claims that Ford is still entitled to label as

“confidential” documents that were tendered into evidence in two public, televised trials in Hill v.

Ford, and that Ford is entitled to label as “confidential” even documents actually admitted into

evidence in either or both of those trials and thereafter filed in the Gwinnett County Clerk’s

office.

          Plaintiffs respectfully submit that the universe of Ford documents that could legitimately

be considered still “confidential” is extremely limited, given that the subject roof was designed

28 years ago, and the subject trucks with the subject roofs were first built and sold 25 years ago

(in 1998-1999 as the model year 1999 “Super Duty” trucks), and were last built and sold by Ford

some seven years ago (in 2015-2016, as the model year 2016 “Super Duty” trucks). That

necessarily means that Ford’s ‘competitors’ have had a lot of time to reverse engineer the subject

roof, if they ever had any inclination to do so (which, given the nature of the roof, is rather

unimaginable).




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       Plaintiffs object to Ford’s proposed restrictions on sharing. The dangers of such

restrictions have been proved in many auto products cases. The need for that objection was

demonstrated in Hill v. Ford. For years Ford failed to disclose to plaintiffs in that case the

existence of the “Enhanced Roof Strength Project for Super Duty trucks,” whereby in 2005 Ford

created a team of Ford engineers to design an entirely new roof for the subject trucks, which that

team of engineers did in some 16 months, designing a roof five times stronger than the subject

roof and cheaper to manufacture (Ford did not use that roof in its “Super Duty” trucks until the

model year 2017 trucks). Plaintiffs were able to find out about those crucial facts only from

another plaintiffs’ lawyer, who had on his own ferreted out that information, in another case.

       Such a long, complex, and prolix “protective order” as Ford has proposed is simply not

necessary in this case. As Plaintiffs have stated, there should be no need for anything but for

very limited additional discovery of Ford documents in this case. See 8/2/23 Joint Report &

Proposed Scheduling Order at 2-4. These same Plaintiffs’ counsel went through Ford documents

produced by Ford in the Hill case and Ford documents obtained from other plaintiffs’ attorneys

and distilled them down to those tendered at one or both of the Hill trials. Those documents

cannot possibly be entitled to “confidential” treatment. So the only Ford documents that could

be at issue in this case are documents produced by Ford in Hill that Plaintiffs’ counsel may have

somehow missed, and the relatively few ‘update’ documents produced by Ford in this case. See

8/2/23 “Joint Report & Proposed Scheduling Order” at p. 3.

       For all of the foregoing reasons, Plaintiffs respectfully submit that use by the Court of

Ford’s proposed “protective order” in this case, or anything like it, is unnecessary as well as

inappropriate and will cause needless delay and disputes.

       In order to preserve and maintain the confidentiality of certain confidential, commercial,


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and/or proprietary documents and information produced or to be produced by FORD MOTOR

COMPANY (“Ford”) in this action, it is hereby ordered that:

Plaintiffs’ Position:

       The confidentiality order should be equally applicable to both parties.

       1.      Documents or information to be produced or provided by Ford or any party in this

litigation that contain confidential, commercially sensitive, private personal information and/or

proprietary information may be designated as confidential by marking or placing the applicable

notice “Subject to Non-Sharing Protective Order,” “Subject to Protective Order,” or

“Confidential,” or substantially similar language on media containing the documents, on the

document itself, or on a copy of the document, in such a way that it does not obscure the text or

other content of the document.

Plaintiffs’ Position:

       Ford’s proposed protective order greatly complicates the discovery process and creates

opportunity for discovery gamesmanship by allowing Ford to mark some documents for

“sharing” with other plaintiffs’ attorneys working on similar litigation and other documents as

“non-sharing.” Since the parties agree on the scope of relevant vehicles (model year 1999-2016

Ford “Super Duty” trucks 1) there is no good reason to vest Ford with the power to unilaterally

declare that some Ford documents may be shared with other plaintiffs’ attorneys litigating similar

cases but that other such documents may not be shared. Moreover, injecting that complexity into

a Court “protective order” is intended to be, and is a trap – it enables Ford to accuse Plaintiffs’

counsel of sharing the wrong Ford documents.




1
 “Super Duty” trucks include those vehicles designated by Ford as F-250, F-350, F-450, and F-
550 trucks.
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       2.      As used in this Order, the terms “documents” or “information” mean all written

material, electronic data, videotapes and all other tangible items, produced in whatever format

(e.g., hard copy, electronic, digital, etc.) and on whatever media (e.g., hard copy, videotape,

computer diskette, CD-ROM, DVD, by secure electronic transmission, hard drive or otherwise).

       3.      Documents or information designated as “Subject to Non-Sharing Protective

Order,” “Subject to Protective Order,” or “Confidential” or substantially similar language in

accordance with the provisions of this Order (“Protected Documents” or “Protected

Information”) shall only be used, shown or disclosed as provided in this Order. However,

nothing in this Order shall limit a party’s use or disclosure of his or her own information

designated as a Protected Document or Protected Information.

       4.      If a receiving party disagrees with the “Protected” designation of any document or

information, the party will notify the producing party in a written letter and identify the

challenged document(s) with specificity, including Bates-number(s) where available, and the

specific grounds for the objection to the designation. If the parties are unable to resolve the issue

of confidentiality regarding the challenged document(s), Ford will thereafter timely apply to the

Court, within 20 days or a time period mutually agreed to by the parties or ordered by the Court,

to set a hearing for the purpose of establishing that the challenged document(s) or information

is/are confidential. Protected Documents will continue to be treated as such pending

determination by the Court as to the confidential status. If no motion or request to set a hearing is

filed by Ford within 20 days or a time period mutually agreed to by the parties or ordered by the

Court, the documents in dispute will no longer be deemed “Protected.”

Plaintiffs’ Position:

   Plaintiffs object to this paragraph. The burden of persuasion for a protective order belongs on


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the party seeking the protection of the documents. Cipollone v. Liggett Grp., Inc., 785 F.2d 1108,

1121 (3d Cir. 1986) (Federal Rule of Civil Procedure “Rule 26(c) places the burden of

persuasion on the party seeking the protective order.”). By inclusion of language requiring that

Plaintiffs must state to Ford “the specific grounds for the objection to the designation” Ford

purports to put that burden on Plaintiffs.

        A “protective order” should be simple; if Ford declares a Ford document is “confidential”

and Plaintiffs disagree, then Ford has to file a motion with the Court or the claim of

“confidentiality” is waived. There should be no need for any “hearing” about a dispute about

whether Ford may declare that one of its documents shall be treated as “confidential.” The

provision “[i]f no motion . . . is filed by Ford within 20 days or a time period mutually agreed to

by the parties or ordered by the Court” unnecessarily requires further conferences among

counsel. If the parties disagree, Ford should have to file a motion, or there is a waiver - period.

        5.        Protected Documents and any copies thereof shall be maintained confidential by

the persons authorized to receive the documents pursuant to Paragraph 6 and shall be used only

for prosecuting, defending, or attempting to settle this litigation, subject to the limitations set

forth herein.

        6.        Protected Documents shall be disclosed only to “Qualified Persons.” Qualified

Persons are limited to:

             a.      Counsel of Record for the parties, and the parties;

             b.      Paralegals and staff employed by Counsel of Record and involved in the

                     preparation and trial of this action;

             c.      A vendor hired by a party to host data and maintain a database of electronic

                     data or perform other work related to the collection, review or production of


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                   documents in the case;

           d.      Experts and non-attorney consultants retained by the parties for the

                   preparation and/or trial of this case, provided that no disclosure shall be made

                   to any expert or consultant who is employed by a competitor of Ford;

           e.      The Court, the Court’s staff, witnesses, and the jury in this case; and

           f.      With respect to documents designated as "Sharing" or "Subject to Protective

                   Order," attorneys representing Plaintiff(s) and the experts and non-attorney

                   consultants retained by such attorneys in other cases pending against Ford

                   involving a 1999-2016 Ford F-250, F-350, F-450, or F-550 involved in a

                   rollover with claims that the roof or restraint system were defective, provided

                   no disclosure shall be made to any expert or consultant who is employed by a

                   competitor of Ford.

Plaintiffs’ Position:

        Plaintiffs object to this paragraph. Sub-paragraph (f) adds another layer of potential

confusion. As stated, there is no good reason to allow Ford to decree that some Ford documents

may be ‘shared’ with other plaintiffs’ attorneys working on similar litigation but other Ford

documents may not be shared with other such plaintiffs’ attorneys. There’s no reason for a

“protective order” that sets up disputes about whether a particular document may be shared or

not.

        Plaintiffs also object to the language “provided no disclosure shall be made to any expert

or consultant who is employed by a competitor of Ford.” That requires that Plaintiffs’ counsel

ensure that no testifying or consulting expert is doing any consulting work for any other

automaker. That is unnecessary, since the design of the subject roofs is ancient – some 28 years


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old, and trucks with the subject roof were first sold 25 years ago, fully available to

“competitors,” if any competitors had any reason to investigate the design of the subject roof,

which is highly unlikely, given the obvious and well known (because of so many lawsuits)

deficiencies with the subject roof. The subject trucks have not been sold for seven years. Simply

put there is no “competitive advantage” to another automaker from getting Ford documents

about this obsolete and now-ditched roof design.

       7.      The receiving party must make reasonable efforts to ensure the individuals

described in Paragraphs 6(b), 6(c), 6(d) and 6(f) above are Qualified Persons.

       8.      Before receiving access to any Protected Document or the information contained

therein, each person described in Paragraphs 6(b), 6(c), 6(d) and 6(f) above shall execute a

“Written Assurance” in the form contained in Exhibit A, attached hereto. The receiving party

shall retain each such executed Written Assurance and shall keep a list identifying (a) all persons

described in Paragraphs 6(b), 6(c), 6(d) and 6(f) above to whom Protected Documents have been

disclosed, and (b) all Protected Documents disclosed to such persons. Each such executed

Written Assurance and list shall be submitted to counsel for Ford at the termination of this

litigation or upon Order of the Court requiring production, whichever comes first. However, for

consulting experts who were not designated as testifying experts, the receiving party may redact

the name, address, and signature of the consultant before disclosing the executed Exhibit A and

document list for that person. To the extent the “Qualified Persons” described in Paragraphs 6(d)

and 6(f) above include privileged non-testifying expert consultants, the receiving party shall

retain each such executed Exhibit A and shall keep a list identifying (a) all such non-testifying

expert consultants described in paragraphs 6(d) and 6(f) above to whom Protected Documents

have been disclosed, and (b) all Protected Documents disclosed to such persons. In the event


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that the Producing Party seeks to compel the production of each unredacted and executed Exhibit

A, the receiving party shall submit each unredacted and executed Exhibit A and list to the Court

for in camera inspection. Persons described in paragraph 6(b) shall be covered under the

signature of Counsel of Record.

Plaintiffs’ Position:

       Plaintiffs object to this paragraph.

       First, Plaintiffs’ counsel’s paralegals, investigator, and staff should not be required to

sign a copy of the confidentiality order, as they are under the supervision of counsel.

       Second, no reason has been stated by Ford for Ford’s claim of entitlement to know which

other plaintiffs’ lawyers have signed the “Written Assurance” and received Ford documents from

Plaintiffs’ counsel in this case which were produced by Ford in this case. To the extent in other

or future cases Ford seeks to withhold documents (just as Ford withheld the crucial ERSP

documents in the Hill v. Ford case) giving Ford access to information about with whom these

Plaintiffs’ counsel shared documents informs Ford about what documents it might safely be able

to withhold in other and future cases. One significant impediment to a corporate defendant

withholding evidence in one case is not knowing what evidence the plaintiff in that case already

has. (That is because the fact of withholding might then be provable, possibly resulting in

sanctions.) In any other case, Ford should honestly and fulsomely respond to the discovery

requests made in that case, and Ford has no real need or entitlement to know what Ford

documents the plaintiff in that other case may already have. In all likelihood those provisions

are unnecessary, anyway - Ford always marks their supposedly “confidential” documents with a

Bates label that identifies the case where the document was produced, so if in some other case a

plaintiff uses a Ford document, Ford will be able to identify where that document came from –


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when the document is used.

         9.    As the Protected Documents may only be distributed to Qualified Persons,

 Qualified Persons may not post Protected Documents on any website or internet accessible

 document repository, excepting a vendor hosted review platform for the sole purpose of

 reviewing the information for the subject case and not for any other purpose, and shall not

 under any circumstance sell, offer for sale, advertise, or publicize either the Protected

 Documents and the Confidential information contained therein or the fact that such persons

 have obtained the Producing Party’s Protected Documents and confidential information.

Plaintiffs’ Position:

       Plaintiffs object to this paragraph because it is overbroad. The phrase “any website or

internet accessible document repository” could be interpreted to include websites such as

Dropbox, which are essential for efficient transmission of documents and can be used with

sufficient protections.

       10.     To the extent that Protected Documents or information obtained therefrom are

used in the taking of depositions and/or used as exhibits at trial, such documents or information

shall remain subject to the provisions of this Order, along with the transcript pages of the

deposition testimony and/or trial testimony dealing with, referring to, or referencing the

Protected Documents or information. Designation of the portion of the transcript (including

exhibits) which contains references to Protected Documents or information shall be made (i) by a

statement to such effect on the record during the proceeding in which the testimony is received,

or (ii) by written notice served on counsel of record in this Litigation within thirty (30) days after

the receipt of the draft or final transcript (whichever is received earlier) of such proceeding (as

used herein, the term “draft transcript” does not include an ASCII or rough transcript). However,


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before such thirty (30) day period expires, all testimony, exhibits, and transcripts of depositions

or other testimony shall be treated as Protected Documents. All portions of transcripts not

designated as Confidential within the time frame provided herein shall be deemed not

confidential.

Plaintiffs’ Position:

        This paragraph is objectionable.

        First, the paragraph provides that Ford documents “used as exhibits at [a public] trial . . .

shall remain subject to the provisions of this Order” – that is, supposedly “confidential”, “along

with the transcript pages of the . . . trial testimony dealing with, referring to, or referencing the

Protected Documents or information.” That is contrary to the Court’s Rule 16 & 26 Order. (Doc.

12 at 9) (“the court finds that absent compelling circumstances, that such orders do not apply to

exclude evidence from public disclosure when that evidence is relied upon in support of or

opposition to any motion or relevant issue in any hearing or trial. There is a presumption that any

evidence relied upon in a filed motion or in opposition to any such motion or to be used in a

hearing or trial shall be a public record.”). There is no doubt that Ford totally disagrees with that

provision of this Court’s Order:

        Second, this is but another paragraph sure to foment disputes that are unnecessary. For

example, who is to decide which “transcript pages of the . . . trial testimony [deal] with, [refer]

to, or [reference] the Protected Documents or information.” There’s no doubt what Ford intends:

Ford is to decide. Ford is still arguing, in this case, just as it is still arguing in Hill v. Ford, that

documents actually admitted into evidence in one or both of the public, televised Hill trials are




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still “confidential.” 2

        Third, the paragraph makes every deposition taken in the case “confidential” for at least

30 days while Ford decides whether or not to ‘designate’ parts of the deposition transcript

“confidential.” Ford counsel will be present for any deposition; if a document Ford has labeled

“protected” is used, it’s easy enough for Ford to right then announce that Ford maintains its

claim of “confidentiality.”

        11.      If any party disagrees with the designation of all or part of a deposition transcript

designated as “Protected” pursuant to Paragraph 10 above, such party must notify the designating

party in a written letter and identify the testimony (by line and page designation) and the specific

grounds for the objection to the designation. If the parties are unable to resolve the issue of

confidentiality regarding the challenged deposition testimony, the designating party will thereafter

timely apply to the Court, within 20 days or a time period mutually agreed to by the parties or

ordered by the Court, to set a hearing for the purpose of establishing that the challenged deposition

testimony is confidential. The designated deposition testimony at issue, and any related exhibits,

will continue to be treated as a Protected Document, in accord with its respective

designation, pending determination by the Court as to the confidential status. If no motion or

request to set a hearing is filed by the designating party within 20 days or a time period mutually

agreed to by the parties or ordered by the Court, the deposition testimony in dispute will no




2
 Ford has refused to agree to Plaintiffs’ proposed stipulation that documents tendered in either of
those two Hill trials shall be deemed to have been produced in this case. See 8/2/23 “Joint
Report and Proposed Scheduling Order,” Exhibit 2. See also Id. at n.3. Ford insists that with
respect to documents produced in the Hill case and used in this Mills case these Plaintiffs must
abide by the “protective order” entered by the Cobb County State Court in the Hill case. Id. at p.
7 (“Plaintiffs’ proposed stipulations, as currently drafted, do not account for the need to continue
to follow the protective order in Hill as it relates to the treatment of evidence and testimony
subject to that protective order.”)
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longer be deemed “Protected.”

Plaintiffs’ Position:

        Plaintiffs object to this paragraph. The burden of persuasion for a protective order

belongs to the party seeking the protection of the documents. Cipollone v. Liggett Grp., Inc., 785

F.2d 1108, 1121 (3d Cir. 1986) (Federal Rule of Civil Procedure “Rule 26(c) places the burden of

persuasion on the party seeking the protective order.”). By inclusion of this language, that

Plaintiffs must state to Ford “the specific grounds for the objection to the designation” Ford

purports to put that burden on Plaintiffs.

        This paragraph again requires yet another ‘conference’ among counsel or intervention by

the Court, about some ‘time period’ other than 20 days that is “mutually agreed to by the parties

or ordered by the Court.” This paragraph also presumes the necessity for a hearing on such a

relatively trifling matter.

        12.     All documents that are filed with the Court that contain any portion of any Protected

Document or information taken from any Protected Document shall be filed under seal by

following the protocols for sealed filings in this Court. The parties agree that there is good cause

and there exist compelling reasons to seal the requested information. However, if a party believes

that documents designated as Protected Documents cannot or should not be sealed, pursuant to the

protocols and rules in this Court, then the party wishing to file the materials shall particularly

identify the documents or information that it wishes to file to the producing party, in writing. The

parties will then meet and confer, in a good faith effort to resolve the dispute. Failing agreement,

the party wishing to file the materials must request a ruling from the Court on whether the Protected

Documents in question must be submitted under seal. The producing party shall have the burden

of justifying that the materials must be submitted under seal. Absent written permission from the

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producing party or a court Order denying a motion to seal, a receiving party may not file in the

public record any Protected Documents.

Plaintiffs’ Position:

        First, this paragraph is contrary to this Court’s Order. Doc. 12 at 9 (“the court finds that

absent compelling circumstances, that such orders do not apply to exclude evidence from public

disclosure when that evidence is relied upon in support of or opposition to any motion or relevant

issue in any hearing or trial. There is a presumption that any evidence relied upon in a filed

motion or in opposition to any such motion or to be used in a hearing or trial shall be a public

record. Accordingly, when materials are to be used in the foregoing manner, a party will not be

allowed to file the materials under seal just because they are covered by a discovery protective

order.”).

        Second, this paragraph is an invitation to needless litigiousness. The phrase “information

taken from any Protected Document shall be filed under seal” is vague and obscure and subject

to interpretation. Who is to decide whether something in the text of a pleading filed by Plaintiffs

is “information taken from any Protected Document” that “shall be filed under seal” – and when

is that decision to be made? As to the ‘who’ question, Ford’s intent is that Ford shall decide. As

to the ‘when’ question, Ford does not say. But Ford surely intends, after a pleading by Plaintiffs

is filed, to accuse Plaintiffs’ counsel of referencing “information taken from a [supposedly]

Protected Document” so that Ford can accuse Plaintiffs’ counsel of “violating” the “protective

order,” thus creating yet another dispute for this Court to mediate. Ford will litigate, i.e., make

accusations, about that. The only safe way for Plaintiffs’ counsel to avoid the accusation and

avoid another time-wasting delaying ginned-up ‘dispute’ is to let Ford preview whatever

Plaintiffs’ counsel seek to file, so Ford can make its adjudication before filing. That is another


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example of Ford attempting to use a “protective order” for improper purposes – litigiousness,

delay, and to gain some advantage.

        Third, this paragraph requires that counsel engage in yet another time-wasting conference

about whether a document shall be filed under seal, and absent agreement by Ford, it is the

Plaintiffs, not Ford, who then “must request a ruling from the Court on whether the Protected

Documents in question must be submitted under seal.” Given that most things Plaintiffs have to

file with the Court are subject to deadlines, that means if there’s any chance Ford might contend

that a document should have been filed under seal or that Ford might contend that the pleading

“contain[s] . . . information taken from any Protected Document”, Plaintiffs’ counsel best give

Ford a preview of the pleading and obtain Ford’s permission to file, or file under seal. Otherwise

Plaintiffs’ counsel risks the sideshow of more accusations by Ford and the time-wasting delay of

another intervention by the Court. That means more delay and more burden on Plaintiffs’

counsel.

        Fourth, this paragraph states that “[t]he parties agree that there is good cause and there

exist compelling reasons to seal the requested information.” That is manifestly untrue. Plaintiffs

do not agree to that; it is a pure fact that almost all the Ford documents Plaintiffs will use are

documents admitted or at least tendered in one or both of the Hill v. Ford public and televised

trials, which are not entitled to any claim of “confidentiality”. It is also irrefutably true that the

Ford documents at issue in this case are all about a roof design Ford abandoned seven years ago,

which design is nearly 30 years old (the design process began in 1994) and was used in trucks

Ford sold starting 25 years ago. 3 And, as Plaintiffs have stated, there should be no need for



3
 See MicroStraegy, Inc. v. Business Objects, S.A., 661 F. Supp. 2d 548 (E.D. Va. 2009) (holding
that 9 year old document which referenced products that had not been on the market for over half
a decade should no longer be considered trade secret) (“The court finds that the Competitive
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anything but for very limited additional discovery of Ford documents in this case. See 8/2/23

Joint Report & Proposed Scheduling Order at 2-4.

       13.     To the extent Ford is requested to produce documents it has determined should

not be subject to the sharing provision of this protective order in Paragraph 6(f), Ford will

designate such documents as “Non-Sharing.” Documents designated as “Non-Sharing” shall not

be shared under paragraph 6(f).

Plaintiffs’ Position:

       Plaintiffs object to this paragraph. This paragraph provides Ford with the unilateral power

to determine which documents may be shared with other plaintiffs’ attorneys litigating similar

cases against Ford Motor Company. No justification is required from Ford for a decision that a

document is not to be shared. No reason is articulated by Ford for decreeing that some document

is “non-sharing.” Based upon the text of their proposed orders, Plaintiffs and Ford agree that the

scope of relevant vehicles include model year 1999-2016 “Super Duty” trucks. There’s no

reason not to share such documents with other plaintiffs’ attorneys who have litigated with Ford

some 200 times about the subject truck roofs.



Recipe does not hold any value, economic or otherwise, and that is it not reasonable, under the
circumstances, for this document to maintain its secrecy. It is not just the mere passage of time
that has rendered the Competitive Recipe valueless, it also no longer holds value because the
products it references have not been on the market for over half a decade, and the market for these
products is constantly changing.”); Contratto v. Ethicon, Inc., 227 F.R.D. 304, 309 (N.D. Cal.
2005) (“I conclude that none of the documents defendants seek to protect contain trade secrets or
other confidential research, development, or commercial information that Rule 26 protects. . . The
final document in Exhibit G is a memorandum, dated April 13, 1993, summarizing the results of
the study. Id., Ex. G. Defendants assert that this information could be useful to a competitor
seeking to develop a similar product. The documents are more than ten years old and do not
contain the type of information which would appear to injure defendants if publicly disclosed.”);
Vendavo, Inc. v. Long, 397 F. Supp. 3d 1115, 1133 (N.D. Ill. 2019) (holding that documents over
3 years old which contained client information were not protectable as trade secret where evidence
showed that company’s sales cycle was approximately 2.5 years from start to finish).

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         This paragraph is sure to gin up more disputes about whether a document may or may not

be shared.

         14.        With respect to Protected Documents designated as “Non-Sharing,” within one-

hundred and twenty (120) days after the conclusion of this case, counsel for the parties who

received Protected Documents, including any documents that any such party disclosed to any

person described in paragraph 6(b) or (c) above, shall either (a) return to Ford the Protected

Documents; or (b) securely destroy the Protected Documents and certify such destruction to Ford

within one hundred and fifty (150) days after the conclusion of this case.

Plaintiffs’ Position:

         Plaintiffs incorporate their response to Paragraph 13 of Ford’s proposed confidentiality

order, above. There is no good reason for Ford to be able to unilaterally decree that some

documents are “non-sharing.”

         15.        With respect to documents designated as “Sharing” or “Subject to Protective

Order,” Counsel for the parties shall not be required to return the Protected Documents to the

Producing Party after the conclusion of this case and may retain the documents pursuant to the

terms of this Order.

Plaintiffs’ Position:

         Plaintiffs incorporate their response to Paragraph 13 of Ford’s proposed confidentiality

order, above. There is no good reason for Ford to be able to unilaterally declare that certain

documents are “sharing” and that others are “non-sharing.”

   16.         Submission to regulatory agency or governmental entity:

               a.      This Protective Order shall not be construed to prohibit Ford’s disclosure or

                       production of safety-related information to a regulatory agency or


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                   governmental entity with an interest in the safety-related information. Material

                   subject to this protective order may only be disclosed to a regulatory agency

                   or governmental entity with an interest in the safety-related information by

                   Ford, and such disclosure shall be made pursuant to 49 CFR 512 or similar

                   applicable rules.

Plaintiffs’ Position:

       This subparagraph makes no sense. Paragraph “3” of Ford’s long proposed “protective

order” states “nothing in this Order shall limit a party’s use or disclosure of his or her own

information designated as a Protected Document or Protected Information.” Obviously Ford

may do whatever it wants with those documents it alone has decreed are “Protected Documents.”

           b.      If other parties to this Protective Order have a reasonable belief that certain

                   documents are safety-related and need to be disclosed to a regulatory agency

                   or governmental entity, they are not prohibited from advising the regulatory

                   agency or governmental entity that they believe such documents were

                   produced in this case, however, any disclosure of such documents shall adhere

                   to the procedure described in Paragraph 16(a).

Plaintiffs’ Position:

       As a very practical matter, this subparagraph is unnecessary: surely after 25 years of the

subject roof being publicly sold by Ford any “regulatory agency” has all the information it may

need or want. But as a matter of principle if Plaintiffs were to come to believe they should

submit supposedly “Protected Documents” to, for example, NHTSA, Ford should not be in a

position to adjudicate whether Plaintiffs may do so – that is a matter Plaintiffs should, and




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would, take up with the Court. 4

       17.        Inadvertent or unintentional production of documents or information containing

confidential information that should have been designated as Protected Document(s) shall not be

deemed a waiver in whole or in part of the party's claims of confidentiality.

       18.        The parties may disclose and produce responsive documents to each other in this

litigation and seek to do so without risking waiver of any attorney-client privilege, work product,

or other applicable privilege or protection. As such, the parties will adhere to the following

procedures with regard to the production of privileged or protected material, should that occur:

             a.      The production of documents (including both paper documents and

                     electronically stored information or “ESI”) subject to protection by the

                     attorney-client and/or work product doctrine or by another legal privilege

                     protecting information from discovery, shall not constitute a waiver of any

                     privilege or other protection, provided that the Producing Party notifies the

                     receiving party, in writing, of the production after its discovery of the same.

             b.      If the Producing Party notifies the receiving party after discovery that

                     privileged materials (hereinafter referred to as the “Identified Materials”) have

                     been produced, the Identified Materials and all copies of those materials shall

                     be returned to the Producing Party or destroyed or deleted, on request of the

                     Producing Party. The Producing Party will provide a privilege log providing

                     information upon request or if required by the Federal Rules of Civil

                     Procedure and applicable case law to the receiving party at the time the



4
 There seems little or no likelihood that would happen: NHTSA has done nothing about the
defective roofs despite 25 years of litigation with some 200 lawsuits; NHTSA seldom takes
enforcement actions in such mass defect situations.
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          Producing Party provides the receiving party notice of the Identified

          Materials. If the receiving party has any notes or other work product

          reflecting the contents of the Identified Materials, the receiving party will not

          review or use those materials unless a court later designates the Identified

          Materials as not privileged or protected.

    c.    The Identified Materials shall be deleted from any systems used to house the

          documents, including document review databases, e-rooms, and any other

          location that stores the documents. The receiving party may make no use of

          the Identified Materials during any aspect of this matter or any other matter,

          including in depositions or at trial, unless the documents have been designated

          by a court as not privileged or protected.

    d.    The contents of the Identified Materials shall not be disclosed to anyone who

          was not already aware of the contents of them before the notice was made.

          The receiving party must take reasonable steps to retrieve the Identified

          Materials if the receiving party disclosed the Identified Materials before being

          notified.

    e.    If any receiving party is in receipt of a document from a Producing Party

          which the receiving party has reason to believe is privileged, the receiving

          party shall in good faith take reasonable steps to promptly notify the

          Producing Party of the production of that document so that the Producing

          Party may make a determination of whether it wishes to have the documents

          returned or destroyed pursuant to this Stipulation and Order.

    f.    The party returning the Identified Materials may move the Court for an order


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                        compelling production of some or all of the Identified Material returned or

                        destroyed, but the basis for such motion may not be based on the fact or

                        circumstances of the production.

                g.      The disclosure of Identified Materials in this action is not a waiver of the

                        attorney-client privilege, work product doctrine, or any other asserted

                        privilege in any other federal or state proceeding, pursuant to Rule 502(d) of

                        the Federal Rules of Evidence.

Plaintiffs’ Position:

          Plaintiffs object to this paragraph. This provision is unnecessary and is merely a

subversion of the federal rules of civil procedure and evidence. Federal Rule of Civil Procedure

26(b)(5)(B), Federal Rule of Evidence 502, and other applicable federal case law provide a party

with protections and the guidelines that a party must follow to ensure privileges are retained.

          19.        No provision of this stipulated order shall constitute a concession by any party

that any documents are subject to protection by the attorney-client privilege, the work product

doctrine or any other potentially applicable privilege or doctrine. No provision of this stipulated

order is intended to waive or limit in any way either party’s right to contest any privilege claims

that may be asserted with respect to any of the documents produced except to the extent set forth

herein.

          20.        In the event that a party produces a document without a confidentiality

designation as permitted by this Order, the following procedures shall apply:

                a.      The Producing Party shall, within fourteen (14) days of the discovery of the

                        disclosure, notify the other party in writing. The party receiving such notice

                        shall promptly destroy the document, including any copies it has, or return the


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                   document on request of the Producing Party. Within ten (10) days after such

                   document is returned or its destruction certified, the Producing Party will

                   produce a new version of any such document that was returned or destroyed,

                   which will contain the appropriate confidentiality designation.

           b.      If the receiving party disputes the Producing Party’s claim of confidentiality,

                   that party may move the Court to challenge the confidential designation in

                   accordance with Paragraph 4 of this Order. If the receiving party elects to file

                   such a motion, the receiving party may retain possession of the document, but

                   shall treat it in accordance with the terms of the Protective Order pending

                   resolution of the motion. If the receiving party's motion is denied, the parties

                   shall promptly comply with Paragraph 18(a) of this Order.

           c.      The production of such document does not constitute a waiver of any claim of

                   confidentiality as set forth in this order or any other matter in any other

                   jurisdiction, unless otherwise ordered by the Court.

Plaintiffs’ Position:

       This paragraph is another formula for needless litigiousness.

       For example, how are Plaintiffs to know that Ford has come up with a new claim that an

already-produced document is supposedly “confidential” within “14 days” after whenever it was

Ford claims it ‘discovered’ that claim? Impossible, without a sideshow of

emails/letters/conferences, and discovery within discovery.

       For example, the paragraph entitles Ford to make Plaintiffs “destroy” an already

produced document without Ford having to first replace it with one marked “confidential.” That




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will be hard to keep up with – another burden on Plaintiffs’ counsel, and an opportunity for

mischief.

       For example, contrary to other parts of Ford’s proposed “protective order,” when Ford

belatedly claims “confidentiality” as to an already-produced Ford document, it is the Plaintiff

that must “move the Court” to challenge the Ford claim, rather than Ford bearing the burden of

filing a motion, as the law requires. It is not the receiving party's burden to prove non-

confidential status. Cipollone v. Liggett Grp., Inc., 785 F.2d 1108, 1121 (3d Cir. 1986) (Federal

Rule of Civil Procedure “Rule 26(c) places the burden of persuasion on the party seeking the

protective order.”).

       21.    Complete copies of documents authored by an employee of Ford in the ordinary

course of business, without handwriting or marginalia, and produced by Ford in accordance with

this Order shall be admissible into evidence without further authentication as true and correct

copies of the originals, but objections to admissibility on other grounds are not hereby precluded.

Plaintiffs’ Position:

       Plaintiffs object to the inclusion of the phrase “without handwriting or marginalia.”

       First, documents produced during discovery can be authentic per se, whether they have

handwriting on them or not. Law Co., Inc. v. Mohawk Const. & Supply Co., Inc., 577 F.3d 1164

(10th Cir. 2009) (“documents produced during discovery that are on letterhead of the opposing,

producing party are authentic per se for purposes of Federal Rule of Evidence 901.”); Robbins v.

Lucky Stores, Inc., 243 F.3d 549 n.2 (9th Cir. 2000) (“we have found that the receipt of

documents pursuant to a discovery request is sufficient to satisfy the authentication requirements

of Rule 901”).

       Second, the term “marginalia” is vague and ambiguous – purposefully so.

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        Third, this is an un-subtle and unannounced attempt to except from the proffered

agreement of admissibility crucial documents admitted in to evidence at the Hill v. Ford trials

that contained important “marginalia” – such as a document created by one of Ford’s expert

witnesses at the Hill trial wherein he deleted from a memorandum written by a member of the

ERSP team words like “safety,” and “failure,” and “crush,” and “collapse,” and “honest.”

        22.    This Protective Order may not be waived, modified, abandoned, or terminated, in

whole or part, except by an instrument in writing signed by the parties. If any provision of this

Protective Order shall be held invalid for any reason whatsoever, the remaining provisions shall

not be affected thereby.

        23.    After termination of this litigation, the provisions of this Order shall continue to be

binding. This Court retains and shall have jurisdiction over the parties and recipients of the

Protected Documents for enforcement of the provisions of this Order following termination of

this litigation.

        24. This Protective Order shall be binding upon the parties hereto, upon their attorneys,

and upon the parties’ and their attorneys’ successors, executors, personal representatives,

administrators, heirs, legal representatives, assigns, subsidiaries, divisions, employees, agents,

independent contractors, or other persons or organizations over which they have control.

Plaintiffs’ Position:

        Plaintiffs object to this paragraph. This provision is a vast overreach that attempts to bind

persons that have nothing to do with this litigation, are not considered as persons with whom

confidential documents may be shared, and have not agreed to be bound by the terms of this

protective order.



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 SO ORDERED, this ______ day of __________________________, 2023.



                                ______________________________________
                                CLAY D. LAND
                                UNITED STATES DISTRICT COURT JUDGE




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                                           EXHIBIT A

       AFFIDAVIT OF _______________________________________, being duly sworn

and personally appearing before the undersigned attesting officer, duly authorized by law to

administer oaths, deposes and says that the within statements are true and correct:

                                                1.

       I have read the Stipulated Protective Order attached hereto, and I understand its terms and

meanings.

                                                2.

       I agree that my signature below submits me to the jurisdiction of the USDC for the

Middle District of Georgia, in the above captioned case and binds me to the provisions of the

Stipulated Protective Order, including to all promises undertaken in the Order, as if originally

agreed by me.

       Further Affiant sayeth not.



       This ______ day of _______________________, 202___.


                                              ___________________________________
                                              AFFIANT


SUBSCRIBED AND SWORN to before me
this ___ day of _________________, ____.


_____________________________________
NOTARY PUBLIC
Name:________________________________
No.:__________________________________
My Commission Expires: __________



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Michelle L. H. Miller




From:                       cmecfhelpdesk@gamd.uscourts.gov
Sent:                       Thursday, August 31, 2023 12:16 PM
To:                         cmecfhelpdesk@gamd.uscourts.gov
Subject:                    Activity in Case 4:23-cv-00088-CDL BROGDON et al v. FORD MOTOR COMPANY Order on Motion
                            for Protective Order


This is an automatic e‐mail message generated by the CM/ECF system. Please DO NOT RESPOND to this e‐mail
because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges,
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free copy and 30 page limit do not apply.

                                                 U.S. District Court [LIVE AREA]

                                                   Middle District of Georgia

Notice of Electronic Filing

The following transaction was entered on 8/31/2023 at 12:16 PM EDT and filed on 8/31/2023
Case Name:          BROGDON et al v. FORD MOTOR COMPANY
Case Number:        4:23‐cv‐00088‐CDL
Filer:
Document Number: 23(No document attached)

Docket Text:
This is a text only entry; no document issued. ORDER deferring ruling on [19] Motion for
Protective Order. Defendant proposes a confidentiality protective order essentially verbatim to
one the Court previously entered in a similar case which was consented to by the parties in
that other case. Plaintiffs in this case object to that order on a myriad of grounds and certainly
do not consent to it. As the Court tried to indicate at the scheduling conference in this case, it
found its previous order reasonable and found no reason to substantially depart from it in this
case. However, the Court does acknowledge that Plaintiff does not agree with its terms.
Accordingly, within 7 days, Defendant shall send another draft order to the Court that contains
the terms and conditions from the Court's previous order, except any reference in the order
that the Plaintiff agrees to any part of the order shall be deleted and/or revised to make clear
what the Court is ordering but does not indicate or suggest that Plaintiff agrees with those
provisions. Plaintiff, of course, will nevertheless be bound with them. While Defendant shall
send Plaintiff's counsel a courtesy copy of what it sends to the Court, the Court has made up
its mind and no further squabbling will be fruitful. Ordered by US DISTRICT JUDGE CLAY D
LAND on 08/31/2023 (CCL)


4:23‐cv‐00088‐CDL Notice has been electronically mailed to:

JAMES E BUTLER, JR jim@butlerprather.com, beth@butlerprather.com, kim@butlerprather.com,
sarah@butlerprather.com, susie@butlerprather.com
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HAROLD D MELTON      harold.melton@troutman.com, rebecca.fowler@troutman.com

MICHAEL R BOORMAN mboorman@watsonspence.com, ahoffman@watsonspence.com,
mmiller@watsonspence.com

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4:23‐cv‐00088‐CDL On this date, a copy of this document, including any attachments, has been mailed by United
States Postal Service to any non CM/ECF participants as indicated below::




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                COLUMBUS DIVISION

 JAMES EDWARD (“Dusty”) BROGDON,                :
 JR., as Executor of the Estate of Debra Sue    :
 Mills, deceased, and JAMES EDWARD              :
 BROGDON, JR., and RONALD BRIAN                 :
 (“Rusty”) BROGDON, Individually and as         :
 surviving children of Debra Sue Mills,         :   Civil Action File No.:
                                                :          4:23-cv-00088-CDL
 And                                            :
                                                :
 JAMES EDWARD BROGDON, JR., as                  :
 Executor of the Estate of Herman Edwin         :
 Mills, deceased, and JASON EDWIN               :
 MILLS, Individually and as surviving child     :
 of Herman Edwin Mills,                         :
                                                :
         Plaintiffs,                            :
                                                :
 v.                                             :
                                                :
 FORD MOTOR COMPANY,                            :
                                                :
         Defendant.                             :

                  SHARING AND NON-SHARING PROTECTIVE ORDER

        In order to preserve and maintain the confidentiality of certain confidential, commercial

and/or proprietary documents and information produced or to be produced by FORD MOTOR

COMPANY (“Ford”) in this action, it is ordered that:

        1.      Documents or information to be produced or provided by Ford or any party in this

litigation that contain confidential, commercially sensitive, private personal information and/or

proprietary information may be designated as confidential by marking or placing the applicable

notice “Subject to Non-Sharing Protective Order,” “Subject to Protective Order,” or

“Confidential,” or substantially similar language on media containing the documents, on the
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document itself, or on a copy of the document, in such a way that it does not obscure the text or

other content of the document.

       2.      As used in this Order, the terms “documents” or “information” mean all written

material, electronic data, videotapes and all other tangible items, produced in whatever format

(e.g., hard copy, electronic, digital, etc.) and on whatever media (e.g., hard copy, videotape,

computer diskette, CD-ROM, DVD, by secure electronic transmission, hard drive or otherwise).

       3.      Documents or information designated as “Subject to Non-Sharing Protective

Order,” “Subject to Protective Order,” or “Confidential” or substantially similar language in

accordance with the provisions of this Order (“Protected Documents” or “Protected Information”)

shall only be used, shown or disclosed as provided in this Order. However, nothing in this Order

shall limit a party’s use or disclosure of his or her own information designated as a Protected

Document or Protected Information.

       4.      If a receiving party disagrees with the “Protected” designation of any document or

information, the party will notify the producing party in a written letter and identify the challenged

document(s) with specificity, including Bates-number(s) where available, and the specific grounds

for the objection to the designation. If the parties are unable to resolve the issue of confidentiality

regarding the challenged document(s), Ford will thereafter timely apply to the Court, within 20

days or a time period mutually agreed to by the parties or ordered by the Court, to set a hearing for

the purpose of establishing that the challenged document(s) or information is/are confidential.

Protected Documents will continue to be treated as such pending determination by the Court as to

the confidential status. If no motion or request to set a hearing is filed by Ford within 20 days or

a time period mutually agreed to by the parties or ordered by the Court, the documents in dispute

will no longer be deemed “Protected.”




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          5.   Protected Documents and any copies thereof shall be maintained confidential by

the persons authorized to receive the documents pursuant to paragraph 6 and shall be used only for

prosecuting, defending, or attempting to settle this litigation, subject to the limitations set forth

herein.

          6.   Protected Documents shall be disclosed only to “Qualified Persons.” Qualified

Persons are limited to:

               a.         Counsel of Record for the parties, and the parties;

               b.         Paralegals and staff employed by Counsel of Record and involved in the

                          preparation and trial of this action;

               c.         A vendor hired by a party to host data and maintain a database of electronic

                          data or perform other work related to the collection, review or production

                          of documents in the case;

               d.         Experts and non-attorney consultants retained by the parties for the

                          preparation and/or trial of this case, provided that no disclosure shall be

                          made without first obtaining an order of the Court to any expert or

                          consultant who is employed by a competitor of Ford;

               e.         The Court, the Court’s staff, witnesses, and the jury in this case; and

               f.         With respect to documents designated as “Sharing” or “Subject to

                          Protective Order,” attorneys representing Plaintiff(s) and the experts and

                          non-attorney consultants retained by such attorneys, in other cases pending

                          against Ford involving a 1999-2016 Ford F-250, F-350, F-450, or F-550

                          involved in a rollover with claims that the roof or restraint system were

                          defective, provided no disclosure shall be made without first obtaining an




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                       order of the Court to any expert or consultant who is employed by a

                       competitor of Ford.

       7.      The receiving party must make reasonable efforts to ensure the individuals

described in paragraphs 6(b), 6(c), 6(d) and 6(f) above are Qualified Persons.

       8.      Before receiving access to any Protected Document or the information contained

therein, each person described in paragraphs 6(b), 6(c), 6(d) and 6(f) above shall execute a “Written

Assurance” in the form contained in Exhibit A, attached hereto. The receiving party shall retain

each such executed Written Assurance and shall keep a list identifying (a) all persons described in

paragraphs 6(b), 6(c), 6(d) and 6(f) above to whom Protected Documents have been disclosed, and

(b) all Protected Documents disclosed to such persons. Each such executed Written Assurance

and list shall be submitted to counsel for Ford at the termination of this litigation or upon Order of

the Court requiring production, whichever comes first. However, for consulting experts who were

not designated as testifying experts, the receiving party may redact the name, address, and

signature of the consultant before disclosing the executed Exhibit A and document list for that

person. To the extent the “Qualified Persons” described in paragraph 6(d) and 6(f) above include

privileged non-testifying expert consultants, the receiving party shall retain each such executed

Exhibit A and shall keep a list identifying (a) all such non-testifying expert consultants described

in paragraphs 6(d) and 6(f) above to whom Protected Documents have been disclosed, and (b) all

Protected Documents disclosed to such persons. In the event that Ford (or the producing party)

seeks to compel the production of each unredacted and executed Exhibit A for good cause, the

receiving party shall submit each unredacted and executed Exhibit A and list to the Court for in

camera inspection. Persons described in paragraph 6(b) shall be covered under the signature of

Counsel of Record.




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       9.      As the Protected Documents may only be distributed to Qualified Persons,

Qualified Persons may not post Protected Documents on any website or internet accessible

document repository, excepting a vendor hosted review platform for the sole purpose of reviewing

the information for the subject case and not for any other purpose, and shall not under any

circumstance sell, offer for sale, advertise, or publicize either the Protected Documents and the

Confidential information contained therein or the fact that such persons have obtained Ford’s (or

the producing party’s) Protected Documents and confidential information.

       10.     To the extent that Protected Documents or information obtained therefrom are used

in the taking of depositions (including exhibits) or other pretrial testimony and/or used as exhibits

at trial, such documents or information shall remain subject to the provisions of this Order, along

with the transcript pages of the deposition testimony and/or trial testimony dealing with, referring

to or referencing the Protected Documents or information. Designation of the portion of the

transcript (including exhibits) which contains references to Protected Documents or information

shall be made (i) by a statement to such effect on the record during the proceeding in which the

testimony is received, or (ii) by written notice served on counsel of record in this Litigation within

thirty (30) business days after the receipt of the draft or final transcript (whichever is received

earlier) of such proceeding (as used herein, the term “draft transcript” does not include an ASCII

or rough transcript). However, before such thirty (30) day period expires, all testimony, exhibits

and transcripts of depositions or other testimony shall be treated as Protected Documents. All

portions of transcripts not designed as Confidential within the time frame provided herein shall be

deemed not confidential.

       11.     If any party disagrees with the designation of all or part of a deposition transcript

designated as “Protected” pursuant to Paragraph 10 above, such party must notify the designating




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party in a written letter and identify the testimony (by line and page designation) and the specific

grounds for the objection to the designation. If the parties are unable to resolve the issue of

confidentiality regarding the challenged deposition testimony, the designating party will thereafter

timely apply to the Court, within 20 days or a time period mutually agreed to by the parties or

ordered by the Court, to set a hearing for the purpose of establishing that the challenged deposition

testimony is confidential. The designated deposition testimony at issue, and any related exhibits,

will continue to be treated as a Protected Document, in accord with its respective designation,

pending determination by the Court as to the confidential status. If no motion or request to set a

hearing is filed by the designating party within 20 days or a time period mutually agreed to by the

parties or ordered by the Court, the deposition testimony in dispute will no longer be deemed

“Protected.”

       12.     All documents that are filed with the Court that contain any portion of any Protected

Document or information taken from any Protected Document shall be filed under seal by

following the protocols for sealed filings in this Court. However, if a party believes that documents

designated as Protected Documents cannot or should not be sealed, pursuant to the protocols and

rules in this Court, then the party wishing to file the materials shall particularly identify the

documents or information that it wishes to file to the producing party, in writing. The parties will

then meet and confer, in a good faith effort to resolve the dispute. Failing agreement, the party

wishing to file the materials must request a ruling from the Court on whether the Protected

Documents in question must be submitted under seal. The producing party shall have the burden

of justifying that the materials must be submitted under seal. Absent written permission from the

producing party or a court Order denying a motion to seal, a receiving party may not file in the

public record any Protected Documents.




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       13.     To the extent Ford (or the producing party) is requested to produce documents it

has determined should not be subject to the sharing provision of this protective order in paragraph

6(f), Ford (or the producing party) will designate such documents as “Non-Sharing.” Documents

designated as “Non-Sharing” shall not be shared under paragraph 6(f).

       14.     With respect to Protected Documents designated as “Non-Sharing,” within one

hundred and twenty (120) days after the conclusion of this case, counsel for the parties who

received Protected Documents, including any documents that any such party disclosed to any

person described in paragraph 6(b) or (c) above, shall either (a) return to Ford (or the producing

party) the Protected Documents; or (b) securely destroy the Protected Documents and certify such

destruction to Ford (or the producing party) within one hundred and fifty (150) days after the

conclusion of this case.

       15.     With respect to documents designated as “Sharing” or “Subject to Protective

Order,” Counsel for the parties shall not be required to return the Protected Documents to Ford

after the conclusion of this case and may retain the documents pursuant to the terms of this Order.

       16.     Submission to regulatory agency or governmental entity:

               a.      This protective order shall not be construed to prohibit Ford’s disclosure or

                       production of safety-related information to a regulatory agency or

                       governmental entity with an interest in the safety-related information.

                       Material subject to this protective order may only be disclosed to a

                       regulatory agency or governmental entity with an interest in the safety-

                       related information by Ford, and such disclosure shall be made pursuant to

                       49 CFR 512 or similar applicable rules.




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               b.      If other parties to this protective order have a reasonable belief that certain

                       documents are safety-related and need to be disclosed to a regulatory agency

                       or governmental entity, they are not prohibited from advising the regulatory

                       agency or governmental entity that they believe such documents were

                       produced in this case, however, any disclosure of such documents shall

                       adhere to the procedure described in Paragraph 16(a).

       17.     Inadvertent or unintentional production of documents or information containing

confidential information that should have been designated as Protected Document(s) shall not be

deemed a waiver in whole or in part of the party's claims of confidentiality.

       18.     The parties may disclose and produce responsive documents to each other in this

litigation, and seek to do so without risking waiver of any attorney-client privilege, work product

or other applicable privilege or protection. As such, the parties will adhere to the following

procedures with regard to the production of privileged or protected material, should that occur:

               a.      The production of documents (including both paper documents and

                       electronically stored information or “ESI”) subject to protection by the

                       attorney-client and/or work product doctrine or by another legal privilege

                       protecting information from discovery, shall not constitute a waiver of any

                       privilege or other protection, provided that the producing party notifies the

                       receiving party, in writing, of the production after its discovery of the same.

               b.      If the producing party notifies the receiving party after discovery that

                       privileged materials (hereinafter referred to as the “Identified Materials”)

                       have been produced, the Identified Materials and all copies of those

                       materials shall be returned to the producing party or destroyed or deleted,




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             on request of the producing party. The producing party will provide a

             privilege log containing the information upon request or if required by the

             Federal Rules of Civil Procedure, and applicable case law to the receiving

             party at the time the producing party provides the receiving party notice of

             the Identified Materials. If the receiving party has any notes or other work

             product reflecting the contents of the Identified Materials, the receiving

             party will not review or use those materials unless a court later designates

             the Identified Materials as not privileged or protected.

       c.    The Identified Materials shall be deleted from any systems used to house

             the documents, including document review databases, e-rooms and any

             other location that stores the documents. The receiving party may make no

             use of the Identified Materials during any aspect of this matter or any other

             matter, including in depositions or at trial, unless the documents have been

             designated by a court as not privileged or protected.

       d.    The contents of the Identified Materials shall not be disclosed to anyone

             who was not already aware of the contents of them before the notice was

             made. The receiving party must take reasonable steps to retrieve the

             Identified Materials if the receiving party disclosed the Identified Materials

             before being notified.

       e.    If any receiving party is in receipt of a document from a producing party

             which the receiving party has reason to believe is privileged, the receiving

             party shall in good faith take reasonable steps to promptly notify the

             producing party of the production of that document so that the producing




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                      party may make a determination of whether it wishes to have the documents

                      returned or destroyed pursuant to this Order.

               f.     The party returning the Identified Materials may move the Court for an

                      order compelling production of some or all of the Identified Material

                      returned or destroyed, but the basis for such motion may not be based on

                      the fact or circumstances of the production.

               g.     The disclosure of Identified Materials in this action is not a waiver of the

                      attorney-client privilege, work product doctrine or any other asserted

                      privilege in any other federal or state proceeding, pursuant to Rule 502(d)

                      of the Federal Rules of Evidence.

       19.     No provision of this order shall constitute a concession by any party that any

documents are subject to protection by the attorney-client privilege, the work product doctrine or

any other potentially applicable privilege or doctrine. No provision of this order is intended to

waive or limit in any way either party’s right to contest any privilege claims that may be asserted

with respect to any of the documents produced except to the extent set forth herein.

       20.     In the event that a party produces a document without a confidentiality designation

as permitted by this Order, the following procedures shall apply:

               a.     The producing party shall, within fourteen (14) days of the discovery of the

                      disclosure, notify the other party in writing. The party receiving such notice

                      shall promptly destroy the document, including any copies it has, or return

                      the document on request of the producing party. Within ten (10) days after

                      such document is returned or its destruction certified, the producing party




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                      will produce a new version of any such document that was returned or

                      destroyed, which will contain the appropriate confidentiality designation.

               b.     If the receiving party disputes the producing party’s claim of

                      confidentiality, that party may move the Court to challenge the confidential

                      designation in accordance with Paragraph 4 of this Order. If the receiving

                      party elects to file such a motion, the receiving party may retain possession

                      of the document, but shall treat it in accordance with the terms of the

                      Protective Order pending resolution of the motion. If the receiving party's

                      motion is denied, the parties shall promptly comply with Paragraph 18(a) of

                      this Order.

               c.     The production of such document does not constitute a waiver of any claim

                      of confidentiality as set forth in this order or any other matter in any other

                      jurisdiction, unless otherwise ordered by the Court.

       21.     Complete copies of documents authored by an employee of Ford in the ordinary

course of business, without handwriting or marginalia, and produced by Ford in accordance with

this Order shall be admissible into evidence without further authentication as true and correct

copies of the originals, but objections to admissibility on other grounds are not hereby precluded.

       22.     This Protective Order may not be waived, modified, abandoned or terminated, in

whole or part, except by an instrument in writing signed by the parties. If any provision of this

Protective Order shall be held invalid for any reason whatsoever, the remaining provisions shall

not be affected thereby.

       23.     After termination of this litigation, the provisions of this Order shall continue to be

binding. This Court retains and shall have jurisdiction over the parties and recipients of the




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Protected Documents for enforcement of the provisions of this Order following termination of this

litigation.

        24.    This Protective Order shall be binding upon the parties hereto, upon their attorneys,

and upon the parties’ and their attorneys’ successors, executors, personal representatives,

administrators, heirs, legal representatives, assigns, subsidiaries, divisions, employees, agents,

independent contractors, or other persons or organizations over which they have control.

        25.    THE COURT NOTIFIES THE PARTIES THAT IT HAS MADE CHANGES TO

THE PROPOSED LANGUAGE. The Court finds that good cause exists for the entry of this

Protective Order with the following condition: Notwithstanding anything to the contrary in the

foregoing Order, the Court finds that the Protective Order shall not apply to exclude evidence from

public disclosure when that evidence is relied upon in support of or opposition to any motion or

during any hearing or trial. If a party seeks to rely upon any evidence covered by this

Protective Order in support of or in opposition to any motion or during any hearing or trial,

that party shall notify the opposing party at least 14 days prior to filing the motion or

opposition and/or 14 days prior to the hearing or pretrial conference. The opposing party

shall have 7 days to respond objecting to the public disclosure of the information, and the

opposing party may also file a motion to seal stating a compelling reason to require that the

materials be filed under seal. Any response to the motion to seal shall be filed within 7 days.

Although any motion to seal must be filed on the public docket, any briefs in support of or

opposition to the motion to seal, along with exhibits thereto, may be filed with restricted

access so they are accessible only by the Court and the opposing party; the parties must

contemporaneously file redacted versions of the briefs on the public docket. The parties

should not count on a same-day or next-day ruling on a motion to seal. The Court will closely




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scrutinize any such requests at that time, with the presumption that any evidence relied upon in a

filed motion or in opposition to any such motion or to be used in a hearing or trial shall be public

record. Accordingly, when materials are to be used in the foregoing manner, a party will not be

allowed to file the materials under seal just because they are covered by this discovery Protective

Order. In the meantime, before the Court has had the opportunity to rule upon whether a

motion that contains protected material should be permitted to be filed under seal, the party

filing the document that includes the protected material shall file its motion/filing with

restricted access so that it may be accessed only by the Court and the opposing party and

shall contemporaneously file a redacted copy of the motion/filing on the public record that

redacts the protected material. If a motion to seal is denied, the Court will direct the Court

to un-restrict the restricted filing.

       IT IS SO ORDERED, this 7th day of September, 2023.

                                              s/Clay D. Land
                                              CLAY D. LAND
                                              U.S. DISTRICT COURT JUDGE
                                              MIDDLE DISTRICT OF GEORGIA




 SUBMITTED BY:

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                                           EXHIBIT A

       AFFIDAVIT OF _______________________________________, being duly sworn and

personally appearing before the undersigned attesting officer, duly authorized by law to administer

oaths, deposes and says that the within statements are true and correct:

                                                1.

       I have read the Sharing and Non-Sharing Protective Order attached hereto, and I understand

its terms and meanings.

                                                2.

       I agree that my signature below submits me to the jurisdiction of the United States District

Court for the Middle District of Georgia in the above captioned case and binds me to the provisions

of the Sharing and Non-Sharing Protective Order, including to all promises undertaken in the

Order, as if originally agreed by me.

       Further Affiant sayeth not.

       This ______ day of _______________________, 202__.


                                                  ___________________________________
                                                               AFFIANT


SUBSCRIBED AND SWORN to before me
this ___ day of _________________, ____.


_____________________________________
NOTARY PUBLIC
Name:________________________________
No.:__________________________________
My Commission Expires: ________________




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